     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 1 of 74




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN



DEMOCRATIC NATIONAL COMMITTEE, et al.,
    Plaintiffs,
      v.
MARGE BOSTELMANN, et al.,
    Defendants,                               Civil Action No.: 3:20-cv-249-wmc
      and
REPUBLICAN NATIONAL COMMITTEE, et al.,
      Intervening Defendants.



SYLVIA GEAR, et al.,
      Plaintiffs,
      v.
MARGE BOSTELMANN, et al.,
                                              Civil Action No.: 3:20-cv-278-wmc
      Defendants,
      and
REPUBLICAN NATIONAL COMMITTEE, et al.,
      Intervening Defendants.



CHRYSTAL EDWARDS, et al.,
      Plaintiffs,
      v.
ROBIN VOS, et al.,
                                              Civil Action No. 3:20-cv-340-wmc
      Defendants.
      and
REPUBLICAN NATIONAL COMMITTEE, et al.,
      Intervening Defendants.
        Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 2 of 74




JILL SWENSON, et al.,
   Plaintiffs,
   v.
MARGE BOSTELMANN, et al.,
                                                 Civil Action No. 3:20-cv-459-wmc
   and
REPUBLICAN NATIONAL COMMITTEE, et al.,
   Intervening Defendants




   MEMORANDUM OF PLAINTIFFS DEMOCRATIC NATIONAL COMMITTEE
       AND DEMOCRATIC PARTY OF WISCONSIN IN SUPPORT OF
         MOTION FOR RENEWED PRELIMINARY INJUNCTION
         Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 3 of 74




                                                           Table of Contents


Table of Authorities ....................................................................................................................... iii

Table of Abbreviations ....................................................................................................................x

Introduction and Summary of the Argument ...................................................................................1

Statement of Facts ..........................................................................................................................10

           A.         Overview of the April 7 election. ..........................................................................11

           B.         The election-day receipt deadline continues to threaten to disenfranchise
                      voters. .....................................................................................................................15

           C.         The continuing disenfranchising effects of the witness certification
                      requirement. ...........................................................................................................20

           D.         The continuing disenfranchising effects of the photo ID and proof-of-
                      residence requirements...........................................................................................22

           E.         The WEC defendants’ June 25 Status Report. .......................................................24

ARGUMENT .................................................................................................................................27

I.         This Court should extend the injunctive relief granted for the April 7 election to
           the November 3 general election. ......................................................................................27

           A.         This Court should again extend the online registration deadline, and
                      should include by-mail registration in that extension. ...........................................28

           B.         This Court should again extend the election-day ballot-receipt deadline. .............31

II.        This Court should again grant limited injunctive relief against Wisconsin’s
           witness-certification requirement, modified to resolve the Seventh Circuit’s
           concerns. ............................................................................................................................34

           A.         The controlling decisions require a generous safety net. .......................................35

           B.         This Court should follow Frank III in crafting appropriate relief. ........................42

III.       This Court should partially enjoin the ID and proof of residency requirements as
           applied to those who attest under penalty of perjury that they cannot meet those
           requirements after reasonable efforts. ................................................................................46

IV.        This Court should order defendants to take further steps to ensure all Wisconsin
           voters have access to safe and secure in-person voting opportunities. ..............................49
       Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 4 of 74




V.      The challenged provisions violate federal due process guarantees. ..................................54

VI.     The challenged provisions violate equal protection guarantees. .......................................56

VII.    Plaintiffs meet all other requirements for their requested preliminary injunctive
        relief. ..................................................................................................................................59
        Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 5 of 74




                                                     Table of Authorities


CASES

Am. Civil Rights Union v. Martinez-Rivera,
   166 F. Supp. 3d 779 (W.D. Tex. 2015)....................................................................................62

Bishop v. Lomenzo,
   350 F.Supp. 576 (E.D.N.Y. 1972) ...........................................................................................60

Burdick v. Takushi,
   504 U.S. 428 (1992) .................................................................................................................55

Bush v. Gore,
   531 U.S. 98 (2000) .................................................................................................56, 57, 58, 59

Crawford v. Marion Cty. Election Bd.,
   472 F.3d 949 (7th Cir. 2007), aff’d, 553 U.S. 181 (2008) ...........................................27, 35, 41

Crawford v. Marion Cty. Election Bd.,
   553 U.S. 181 (2008) ...........................................................................................................36, 42

Democratic Nat’l Comm. v. Bostelmann,
  20-cv-249-wmc, 2020 WL 1505640 (W.D. Wis. Mar. 28, 2020) ...........................................51

Democratic Nat’l Comm. v. Hobbs,
  948 F.3d 989 (9th Cir. 2020) (en banc) ...................................................................................62

DNC v. RNC,
  Nos. 20-1538 & 20-1546 (7th Cir. Apr. 3, 2020) ............................................................ passim

DNC v. RNC,
  140 S. Ct. 1205 (Apr. 6, 2020) (stayed in part) ...............................................................2, 7, 57

Esshaki v. Whitmer,
   No. 20-1336, 2020 WL 2185553 (6th Cir. May 5, 2020) ........................................................46

Fair and Equal Mich. v. Benson,
   No. 20-000095-MM (Mich. Ct. Claims June 10, 2020) ..........................................................46

Faulkner for Va. v. Va. Dept of Elections,
   No. CL-20-1456 (Va. Cir. Ct. Mar. 25, 2020) .........................................................................46

Fla. Democratic Party v. Detzner,
   4:16cv607-MW/CAS, 2016 WL 6090943 (N.D. Fla. Oct. 16, 2016)................................55, 60
         Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 6 of 74




Fla. State Conference of N.A.A.C.P. v. Browning,
   522 F.3d 1153 ..........................................................................................................................57

In re: Extension of time for Absentee and Mail-in Ballots,
    No. 2020-003416 (Penn. Ct. Common Pleas, Delaware Cty. June 2, 2020) ...........................46

In re: Extension of time for Absentee and Mail-in Ballots,
    No. 2020-02322-37, slip op. (Penn. Ct. Common Pleas, Bucks Cty. June 2,
    2020) ........................................................................................................................................46

Frank v. Walker,
   196 F. Supp. 3d 893 (E.D. Wis. 2016), aff’d in part and rev’d on other
   grounds 2020 WL 3496860 (7th Cir. June 29, 2020) ..............................................................52

Frank v. Walker,
   819 F.3d 384 (7th Cir. 2016) ........................................................................................... passim

Frank v. Walker,
   Nos. 16-3003 & 16-3052, 2016 WL 4224616 (7th Cir. 2016) ................................................38

Frank v. Walker,
   835 F.3d 649 (7th Cir. 2016) (en banc) ........................................................................... passim

Frank v. Walker,
   768 F.3d 744 (7th Cir. 2014) ..................................................................................................42

Ga. Coal. for People’s Agenda, Inc. v. Kemp,
   347 F. Supp. 3d 1251 (N.D. Ga. 2018) ..............................................................................33, 60

Goldstein v. Sec’y of the Commonwealth,
   484 Mass. 516 (2020) ..............................................................................................................46

Hollingsworth v. Perry,
   570 U.S. 693 (2013) .................................................................................................................27

Idaho Coal. United for Bears v. Cenarrusa,
   342 F.3d 1073 (9th Cir. 2003) .................................................................................................57

Jefferson v. Dane County,
    2020AP557-OA ...........................................................................................................47, 49, 58

LAJIM, LLC v. Gen. Elec. Co.,
   917 F.3d 933 (7th Cir. 2019) ...................................................................................................59

League of Women Voters of Va. v. Va. State Bd. of Elections,
   No. 6:20-CV-00024, 2020 WL 2158249 (W.D. Va. May 5, 2020) .........................................45
        Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 7 of 74




Lewis v. Bostelmann,
   No. 20-cv-284-wmc ...................................................................................................................1

Libertarian Party of Ill. v. Pritzker,
   No. 20-cv-2112, 2020 WL 1951687 (N.D. Ill. Apr. 23, 2020), stay denied
   pending appeal, No. 20-1961 (7th Cir. June 21, 2020) ...........................................................46

Luft v. Evers,
    ___ F.3d ___, 2020 WL 3496860 (7th Cir. June 29, 2020) ............................................. passim

Miller v. Thurston,
   No. 5:20-cv-05070 (W.D. Ark. May 25, 2020) .......................................................................46

Moreno v. Denney,
  No. 1:20-cv-00242 (D. Idaho May 23, 2020) ..........................................................................46

Ne. Ohio Coal. for Homeless v. Husted,
    696 F.3d 580 (6th Cir. 2012) ...................................................................................................33

Obama for Am. v. Husted,
   697 F.3d 423 (6th Cir. 2012) .............................................................................................57, 59

One Wis. Inst., Inc. v. Thomsen,
   198 F. Supp. 3d 896 (W.D. Wis. 2016) .........................................................................6, 37, 62

One Wisconsin Institute, Inc. v. Thomsen,
   No. 15-cv-324-jdp, ECF Nos. 261, 293, 305 ................................................................... passim

Paher v. Cegavske,
   No. 3:20-cv-00243-MMD-WGC, 2020 WL 2089813 (D. Nev. Apr. 30, 2020) .....................62

People First of Ala. v. Sec’y of State,
   No. 20-12184, slip op. (11th Cir. June 25, 2020) ....................................................................62

People First of Alabama v. Sec’y of State of Alabama,
   No. 20-12184, 2020 WL 3478093 (11th Cir. Jun. 25, 2020)...................................6, 37, 44, 45

Purcell v. Gonzalez,
   549 U.S. 1 (2006) ...............................................................................................................42, 59

Raleigh Wake Citizens Ass’n v. Wake Cty. Bd. of Elections,
   827 F.3d 333 (4th Cir. 2016) ...................................................................................................57

Reclaim Idaho v. Denney,
   No. 1:20-CV-00268-BLW, 2020 WL 3490216 (D. Idaho June 26, 2020) ..............................46

Rucho v. Common Cause,
   139 S. Ct. 2484 (2019) ...............................................................................................................5
         Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 8 of 74




Saucedo v. Gardner,
   335 F. Supp. 3d 202 (D.N.H. 2018) .........................................................................................55

Taylor v. Louisiana.,
   419 U.S. 522 (1975) .................................................................................................................60

Thomas v. Andino,
   Nos. 3:20-cv-01552-JMC, 2020 WL 2617329 (D.S.C. May 25, 2020) ..................................46

U.S. Student Ass’n Found. v. Land,
   546 F.3d 373 (6th Cir. 2008) ...................................................................................................61

United States v. Berks Cty., Pa.,
   250 F. Supp. 2d 525 (E.D. Pa. 2003) .......................................................................................60

United States v. Georgia,
   892 F. Supp. 2d 1367 (N.D. Ga. 2012) ....................................................................................60

Wisconsin Right to Life, Inc. v. Barland,
   751 F.3d 804 (7th Cir. 2014) ...................................................................................................51

Zessar v. Helander,
   2006 WL 642646 (N.D. Ill. Mar. 13, 2006) .............................................................................55

Zinermon v. Burch,
   494 U.S. 113 (1990) .................................................................................................................55

STATUTES

Wis. Stat. § 5.05 .................................................................................................................51, 53, 63

Wis. Stat. § 5.25 .............................................................................................................................53

Wis. Stat. § 6.28 ...................................................................................................................7, 29, 62

Wis. Stat. § 6.30 .............................................................................................................................51

Wis. Stat. § 6.34 ..................................................................................................................... passim

Wis. Stat. § 6.86 .................................................................................................................... passim

Wis. Stat. § 6.87 ..................................................................................................................... passim

Wis. Stat. § 7.08 .............................................................................................................................51

Wis. Stat. § 7.15 .............................................................................................................................53

Wis. Stat. § 7.31 .............................................................................................................................51
         Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 9 of 74




Wis. Stat. § 7.60 .............................................................................................................................34

Wis. Stat. § 7.70 .......................................................................................................................34, 60

Wis. Stat. § 8.12 .............................................................................................................................52

Wis. Stat. § 9.01 .............................................................................................................................52

RULES

Fed. R. Civ. P. 41(a)(2) ....................................................................................................................1

Fed. R. Civ. P. 30(b)(6)......................................................................................................30, 34, 60

OTHER AUTHORITIES

42 U.S.C. § 1988 ............................................................................................................................64

Alfred W. Crosby, American’s Forgotten Pandemic: The Influenza of 1918 (2d
   ed. 2003) ....................................................................................................................................3

Article III, U.S. Constitution..........................................................................................................27

Ind.Code Ann. § 3–11.7–5–2.5(c) .................................................................................................36

Wisconsin Election Protection 2020 Spring Election Report (May 11, 2020) ..............................48

Richard Cohn & Charlie Cook, The Almanac of American Politics 2020 (2019) ...........................3

Seward W. Livermore, Woodrow Wilson and the War Congress, 1916-18 (1966) ........................3

Sherrilyn Ifill, Never Forget Wisconsin, Slate
   (Apr. 8, 2020, 6:46 PM) ...........................................................................................................50

Wisconsin Election Protection, 2020 Spring Election Report .......................................................58
       Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 10 of 74




                                    Table of Abbreviations

DMV           The Wisconsin Division of Motor Vehicles of the Wisconsin DOT

DOT           The Wisconsin Department of Transportation

DNC           The full legal and juridical name of plaintiff DNC is DNC Services
              Corp./Democratic National Committee, but its d/b/a and trade names
              “Democratic National Committee (DNC)” are familiar and non-confusing, and
              used throughout this brief and accompanying submissions.

DNCFOF        DNC/DPW’s accompanying proposed findings of fact

DPW           Democratic Party of Wisconsin

Frank I       Frank v. Walker, 768 F.3d 744 (7th Cir. 2014)

Frank II      Frank v. Walker, 819 F.3d 384 (7th Cir. 2016)

Frank III     Frank v. Walker, 835 F.3d 649 (7th Cir. 2016) (en banc)

GAB           Government Accountability Board, the WEC’s predecessor

GOTV          Get out the vote

IDPP          The Wisconsin Identification Petition Process, which is administered by the
              DMV. The IDPP administers Wisconsin’s chosen “safety net” to the voter ID law

RNC           Republican National Committee

RNC v. DNC Republican Nat’l Comm v. Democratic Nat’l Comm., Nos. 20-1538 & 20-1546
           (7th Cir. Apr. 3, 2020), stayed in part 5-4, 140 S. Ct. 1205 (Apr. 6, 2020) (per
           curiam).

RPW           Republican Party of Wisconsin

SSA           U.S. Social Security Administration

USPS          U.S. Postal Service

WEC           Wisconsin Elections Commission
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 11 of 74




                INTRODUCTION AND SUMMARY OF THE ARGUMENT

       This Court needs no introduction to the issues nor any detailed summary of the “lightning

speed” of motions, hearings, and appeals during the first preliminary-injunction round from March

18 through April 6, 2020. ECF No. 217 at 1. Plaintiffs Democratic National Committee (DNC)1

and Democratic Party of Wisconsin (DPW) filed this, the first of five cases the Court has now

consolidated, on March 18. ECF No. 1; see also ECF Nos. 86, 233 (consolidating DNC with Gear,

Lewis,2 Edwards, and Swenson). In several orders in late March and early April, the Court denied

DNC/DPW’s preliminary injunction motions in some respects (without prejudice, pending the

development of a more robust record), while in other respects granting critically needed equitable

relief that enabled a conservative minimum of well over 140,000 eligible Wisconsin voters to

register and/or cast their ballots. See ECF Nos. 37, 170, 179.3 Although the Court’s preliminary

injunction was further narrowed on appeal by the Seventh Circuit and the Supreme Court, one of

the most important parts of this Court’s injunctive relief survived intact: the order enjoining

defendants “from enforcing the requirement under Wis. Stat. § 6.87(6) that absentee ballots must

be received by 8:00 p.m. on election day to be counted,” and extending that deadline for receipt of

absentee ballots by six days, provided that such ballots were mailed and postmarked on or before

election day. See ECF No. 170 at 52 (April 2, 2020), clarified & amended, ECF Nos. 179-80 (Apr.



       1
         The full legal and juridical title of plaintiff DNC is DNC Services Corp./Democratic
National Committee, but its d/b/a and trade name Democratic National Committee (DNC) will be
used throughout this brief and supporting submissions.
       2
        The plaintiffs in Lewis v. Bostelmann, No. 20-cv-284-wmc, have, with this Court’s leave,
dismissed their claims as moot under Fed. R. Civ. P. 41(a)(2). See ECF No. 162 at 3.
       3
          Over 57,000 Wisconsinites registered to vote during this Court’s extension of the online
registration date from March 18 to March 30. DNCFOF ¶ 197. In addition, this Court’s extension
of the ballot return deadline to 4:00 pm on April 13, 2020 resulted in an additional
79,054 ballots being counted for this election. WEC May 15 Report at 7; DNCFOF ¶ 198.

                                                1
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 12 of 74




3, 2020), stayed in part on other grounds sub nom. DNC v. RNC, Nos. 20-1538 & 20-1546 (7th

Cir. Apr. 3, 2020), stayed in part, 140 S. Ct. 1205 (Apr. 6, 2020). The defendants and intervening

defendants did not challenge this extension of the ballot-receipt deadline, and the Seventh Circuit

and Supreme Court both relied on the extension in denying “an additional extension, which would

allow voters to mail their ballots after election day.” 140 S. Ct. at 1208; see Order at 4, DNC v.

RNC, Nos. 20-1538 & 20-1546 (7th Cir. Apr. 3, 2020), ECF No. 30 (extending ballot-receipt

deadline to April 13 would give quarantined voters an additional six days to attempt to carry out

the WEC and Seventh Circuit panel’s suggestions for complying with the witness-certification

requirement).

       This Court’s April 2 preliminary injunction extending the ballot-receipt deadline from

April 7 to April 13, even as modified, avoided the disenfranchisement of a minimum of 79,054

voters whose valid ballots were cast on or before election day but, absent judicial intervention,

would have been rejected. See WEC May 15 Report at 7; DNCFOF ¶ 198. The Court’s March 20

order (ECF No. 37) also enabled 57,187 eligible voters to register online between March 18 (the

statutory cutoff) and March 30 (the deadline for in-person registration and voting). DNCFOF

¶ 197. These voters were able to register on-line rather than having to appear in-person either at

county or municipal polling sites (those that were still open) or in-person at the voters’ accustomed

polling locations (those few that had not been “consolidated,” often without adequate notice).

       Now the focus shifts to the November 3, 2020 general election, which promises to be one

of the most consequential elections in our Nation’s history. It also will be the first presidential

election ever conducted in the midst of a global pandemic reaching deep into every corner of our

Nation and Wisconsin’s 72 counties.4 The number of valid ballots that would have been rejected


       4
           The November 1918 mid-term elections were conducted during the Great Influenza of


                                                 2
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 13 of 74




but instead were counted because of this Court’s April 2 order exceeds the margins of victory in

each of the 2000, 2004, and 2016 Wisconsin presidential elections. In fact, the 79,054 ballots that

were saved by this Court’s order are nearly twice the sum of the margins of victory in the 2000,

2004, and 2016 Wisconsin presidential elections combined.5

       Widely accepted predictions anticipate that public-health conditions in November are

likely to be similar to, if not worse than, the April 7 election. DNCFOF ¶ 49. This has become

especially pronounced in the days leading up to the filing of plaintiffs’ motion, with reported cases

skyrocketing in several States and steadily increasing in more than forty States, including

Wisconsin. Id. ¶ 32; Umberger Decl., Ex. 78 (noting that “the United States saw a 27% increase

in new cases of COVID-19 in the week ended July 5 compared to the previous seven days, with

24 states reporting positivity test rates above the level that the World Health Organization has

flagged as concerning.”). Many Wisconsin counties have rolled back their reopening plans in

response to the spike in new cases and continue to warn against mass gatherings. DNCFOF ¶ 47.

Thus, Wisconsin voters are likely to choose absentee voting at least at the same—and likely

higher—rate than in the April 7 election. The WEC concedes that, “[i]f voting patterns from April

hold true, the state could see more than 1.8 million requests for absentee ballots by mail.” Id. ¶

51 (emphasis added).


1918-19, and national turnout was significantly depressed through the combination of the
pandemic (the second wave of which was just then cresting) and the First World War (which was
then only a few days away from the Armistice). But there has never been a presidential campaign
and election conducted during a global pandemic—until now. See generally Alfred W. Crosby,
American’s Forgotten Pandemic: The Influenza of 1918, at 174-75 (2d ed. 2003); Seward W.
Livermore, Woodrow Wilson and the War Congress, 1916-18, at 185-86, 227 (1966).
       5
         The Gore margin of victory in Wisconsin in 2000 was 5,708 votes; the Kerry margin of
victory in Wisconsin in 2004 was 11,384 votes; and the Trump margin of victory in 2016 was
22,748 votes. The total of these three margins of victory (39,840) is just slightly more than half of
the 79,054 ballots that were counted because of this Court’s April 2 injunctive relief. See Richard
Cohn & Charlie Cook, The Almanac of American Politics 2020, at 1917 (2019).


                                                 3
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 14 of 74




       Indeed, there is every reason to believe that the November election—particularly

processing at least double the number of absentee ballots as in April—is going to pose even greater

challenges than those seen in the April 7 election. The plans outlined in the WEC’s June 25 report

to the Court do not resolve these issues, and, as the WEC conceded, it is not aware of any steps

the U.S. Postal Service (USPS) has taken to prevent a repeat of the problems seen in April,

particularly when there will be a far greater number of anticipated absentee ballots going through

the mail in November. DNCFOF ¶ 110, 132, 143-44. County clerks will continue to be overtaxed;

issues posed by first-time absentee voters will continue; and the problems of delays and

mishandling of absentee ballots by the USPS have not been fixed. Id. ¶ 87. The WEC itself

concedes that its own forecasted demand for absentee ballots will “present terrific challenges for

Wisconsin election officials at all levels.” Id. ¶ 88. As a result, without this Court’s intervention,

the widespread disenfranchisement of voters in the April 7 election will happen again in

November, this time on a much larger scale.

       The DNC/DPW and their counsel have heard the Court’s questions and concerns loud and

clear, and have attempted to focus this brief and supporting materials on responding to them. As

the Court will note, DNC/DPW have relied heavily on the Swenson and Gear briefing, proposed

findings, expert reports, and supporting exhibits on many crucial issues. We have sought to avoid

burdening the Court with repetitious evidence on the same topics that are being thoroughly and

convincingly covered by other plaintiffs (e.g., the epidemiological issues relating to the November

3 general election, certain statistical analyses of the adverse impacts of the challenged provisions

in the April 7 election, expert testimony on Wisconsin election administration, etc.). We also have

shifted many of the factual details and supporting evidence from this brief to the DNC/DPW’s

accompanying heavily annotated proposed findings of fact (DNCFOF), again to streamline the




                                                  4
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 15 of 74




presentation and focus on the concerns the Court shared in its June 10 Opinion and Order (ECF

No. 217) and during the June 29 status and scheduling conference (ECF No. 231).

       Counsel for the DNC/DPW also heard the Court’s admonition during the June 29 status

conference to cut to the quick in explaining how our proposed relief is consistent with the Frank

line of decisions and other controlling Seventh Circuit precedent. That burden now also includes

explaining how the proposed relief is consistent with the Seventh Circuit panel’s long-awaited

June 29 decision in the continuing Frank saga (now styled Luft v. Evers), which was finally issued

together with the decision in the State’s four-year-old appeal from Judge Peterson’s July 29, 2016

injunction in the One Wisconsin Institute litigation. See Luft v. Evers, ___ F.3d ___, 2020 WL

3496860 (7th Cir. June 29, 2020).6 Luft is a troubling decision in many respects, especially on the

Fifteenth Amendment and Section 2 of the Voting Rights Act. See id. at *4–5. Its dicta that Rucho

v. Common Cause, 139 S. Ct. 2484 (2019), might somehow justify partisan tinkering with voting

regulations to “help its candidates,” id. at *2, is flat wrong and unlikely to be followed by other

courts. But on the Anderson-Burdick claims that the DNC/DPW are presenting to this Court, Luft

v. Evers not only is consistent with our requested relief, but in several respects reinforces voters’

entitlement to that relief. Judge Easterbrook’s Luft opinion relies and expands upon his decision in




       6
            The Seventh Circuit issued its opinion after three years and four months. During that
period, Wisconsin has had a general election, multiple primary elections, several Wisconsin
Supreme Court races, and many more local elections. The delay in Frank and One Wisconsin drew
attention. See Patrick Marley, ‘This is shocking to me’: A voter ID case that could rattle
Wisconsin's fall election has been on hold for more than 3 years, The Milwaukee Journal (Jun. 19,
2020). And although a careful reading shows that Judge Easterbrook’s opinion fully endorsed
Judge Peterson’s actions with respect to the ID Petition Process and the individualized, personal
attention that each voter deserves, the opinion vacated and remanded back to Judge Peterson to
continue supervising the IDPP and assemble a new, up-to-date record. See Luft, 2020 WL 3496860,
at *11 (“The district court acted on a record assembled years ago. Instead of trying to evaluate the
adequacy of a process, that the state once championed, but now wants to change, the best approach
is to let it try and see what happens. Adequacy cannot be evaluated in the abstract.”).

                                                 5
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 16 of 74




Frank v. Walker, 819 F.3d 384 (7th Cir. 2016), which emphasized that “[t]he right to vote is

personal and is not defeated by the fact that 99% of other people can secure the necessary

credentials easily.” Id. at 386 (emphasis added). We are not allowed to treat voters as “error rates”

to be written off because they are so “small.” For the minority of voters―whether the 1%

hypothesized in Frank II or a much larger slice of the electorate―who cannot comply with

generally applicable voting rules and eligibility requirements “with reasonable effort,” the State

must provide a “safety net” in one form or another that must demonstrably provide eligible voters

with a genuine “path to cast a vote.” Luft, 2020 WL 3496860, at *8; see id. at *10 (explaining that

the en banc opinion in Frank III “says that the state’s process, as the state describes it, is adequate

to that end, if reliably implemented”) (emphasis in original).

       This is a non-delegable state duty that cannot be foisted off on the 1,850 municipal clerks

and 72 county clerks who administer elections in Wisconsin, or on private voter-assistance

efforts―let alone on aggrieved voters themselves. The State’s elected leaders cannot fall back on

exhortations to the elderly, the disabled, those at “high risk,” and other citizens on the margins to

try harder, travel further, wait longer, and accept more risk in the midst of the global pandemic. It

also should be noted that Luft is a ringing endorsement of the Wisconsin district courts’ continuing

jurisdiction and responsibility to hold the State to its promises, including with respect to ensuring

that the State’s promised “safety nets” are “reliably implemented” and sufficiently advertised to

the general public. Id. at *10-11; see also One Wis. Inst., Inc. v. Thomsen, 198 F. Supp. 3d 896,

964-65 (W.D. Wis. 2016); Frank III, 835 F.3d at 652.

       Turning from the governing Frank and Luft framework to this litigation, the DNC/DPW

make seven principal arguments in this brief and accompanying proposed findings.

       First, this Court should grant the same injunctive relief that it did in connection with the




                                                  6
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 17 of 74




April 7, 2020 election, as modified by the Seventh Circuit and Supreme Court. Specifically, the

Court should extend the online and by-mail registration deadlines in Wis. Stat. § 6.28(1) from

October 14 to October 30, the Friday before the election. The Court also should extend the

November 3 election day receipt deadline in Wis. Stat. § 6.87(6) to ten days after the election

(November 13), so long as all absentee ballots are “postmarked” by November 3, as that term is

defined in the footnote below.7 These essentially were this Court’s remedies that still governed the

spring election after the Seventh Circuit and the Supreme Court majority completed their work on

election eve. This relief should be the Court’s jumping-off point, and thus is addressed in Part I

below.

         Part I also will show that this requested relief is fully consistent with the Luft decision. To

use Judge Easterbrook’s classification, this is a 99% issue, and the question is therefore whether

“the state’s election code as a whole impose[s] only reasonable burdens” as applied in the

circumstances of the pandemic. 2020 WL 3496860, at *3 (emphasis in original). “Only when

voting rights have been severely restricted must states have compelling interests and narrowly

tailored rules.” Id. As demonstrated in Part I, the challenged deadlines once again threaten to harm

not only individual voters, but the electoral system as a whole. We know how many voters would

have been disenfranchised in April if the federal courts had not extended the absentee ballot-receipt

deadline: 79,054. And the November 3 election—which could be one of the most fateful in our



         7
           There was never a postmark requirement for absentee ballots until the 5-4 per curiam
Supreme Court decision imposed one on April 2. See RNC, 140 S. Ct. at 1208. The Supreme Court
left that term undefined, and the WEC on a tie vote refused to provide guidance on what to do. As
used in this brief, the term “postmark” refers to any type of imprint applied by the U.S. Postal
Service to indicate the location and date the Postal Service accepts custody of a piece of mail,
including bar codes, circular stamps, or other tracking marks. Where a ballot does not bear a
postmark date, it should be presumed to have been mailed on or before election day unless the
preponderance of the evidence demonstrates it was mailed after election day.


                                                   7
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 18 of 74




Nation’s history—will involve many more voters and present even more of a receipt deadline

challenge, particularly because of overwhelmed local election officials and a dysfunctional postal

system whose problems, like the pandemic, appear to be getting worse—not better.

       Second, as demonstrated in Part II, this Court granted the right relief on the witness-

certification issue last time around, for all of the right reasons. Data from the April election proved

it: 14,042 absentee ballots were rejected because of unspecified insufficient certifications; this

does not include the much larger number of voters who received their absentee ballots but simply

could not comply with all the certification and proof requirements. DNCFOF ¶ 96. The Court can

meet the fraud-prevention concerns expressed in the Seventh Circuit’s April 3 stay order through

modest adjustments to this Court’s earlier relief. Luft and the en banc decision it follows, Frank

III, mark the path for getting there. Luft endorsed (once again) Judge Peterson’s administration of

the ID Petition Process (IDPP), the State’s chosen “safety net” for the voter ID requirement. Part

II demonstrates that the IDPP rests on five principles that have either been approved or required

by the Seventh Circuit for the IDPP. We believe a court-ordered, WEC-issued and publicized form

for claiming an exemption from the witness-certification requirement that follows these same

principles should and will be approved under controlling Seventh Circuit precedent including

Frank II, Frank III, and Luft. The staggering number of witness declarations on this issue being

submitted today by the four consolidated plaintiff groups demonstrates the urgent demand for such

relief, with ample lead time to implement such relief prior to November.

       Third, as demonstrated in Part III, proof-of-identity requirements like those in Wis. Stats.

§§ 6.34 and 6.86 are also subject to the Luft standard. Even though it should be relatively easy in

ordinary times for most of us to meet the proof-of-identity requirements, these are no ordinary

times. To repeat the obvious, we are in the midst of the worst global pandemic in over a century.




                                                  8
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 19 of 74




Significant numbers of voters now face “high hurdles” in satisfying requirements that may, in more

normal times, be relatively easy for many (or even most) of them to meet. The Frank line of cases

and the new Luft decision teach that, for these citizens, the State must provide an accommodation

designed to ensure that even these voters can cast a ballot with no more than “reasonable efforts.”

This Court expressed hope in its April 2 Opinion that the option of claiming “indefinitely confined”

status might provide voters with the necessary safety net. ECF No. 170 at 41. Those hopes were

only partially and confusingly reached in the April election. The “indefinitely confined” option

was plagued by the lack of clear and consistently applied standards, as well as the lack of any

public education campaign targeted to those who might qualify and benefit from such status. As a

matter of federal constitutional law, the State must fix this proffered safety net—fast—for it to be

even remotely fair and equitable in the November election.

       Fourth, as demonstrated in Part IV, this Court should order the defendants to take all

reasonable steps available to them to ensure an adequate number of early in-person absentee voting

sites and election-day polling places throughout the State to accommodate in-person voters in a

safe and secure manner. DNC/DPW will let other plaintiffs take the evidentiary lead on this

issue―especially the Swenson plaintiffs and their expert witness, former GAB Director and

General Counsel Kevin Kennedy, who sets a gold standard in expertise on election administration.

As for the law, Part IV addresses the spurious contention that DNC/DPW have sued the wrong

defendants because WEC lacks any authority or control over enforcement of federal voting rights

in Wisconsin’s nearly 2,000 local election jurisdictions. The WEC has ample statutory authority

and the duty to “administer” Wisconsin’s election laws (other than on campaign finance matters),

including through formal and emergency rules, guidance, public education, and other regulatory

tools to carry out court orders to safeguard Wisconsin voters’ constitutional rights. It




                                                 9
       Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 20 of 74




unquestionably has ample authority to carry out the injunctive relief requested by the DNC and

DPW.

        Fifth, the DNC/DPW acknowledge in Part V that the Anderson-Burdick and procedural

due process analyses overlap in many important ways and probably will produce the same results

in most cases. Nevertheless, we urge the Court to use both analyses in evaluating the

constitutionality of each challenged provision for the reasons discussed in Part V.

        Sixth, the dramatically inconsistent availability of safe and sufficient in-person registration

and voting opportunities, the diverging standards across cities and counties with respect to the

documents required to register and vote, the conflicting guidance on the witness requirement for

absentee ballots, the absence of any statewide standards for implementing the “postmark”

requirement, and the standardless discretion left to each voter in applying the confusing, ill-

defined, and poorly explained “indefinitely confined” exception are depriving voters, including

plaintiffs’ constituents, of equal protection of the laws.

        Finally, as demonstrated in Part VII, all other requirements for injunctive relief are readily

met.

                                    STATEMENT OF FACTS

        The adverse effects of the April 7 election on Wisconsinites were broad and severe.

Thousands of people were disenfranchised, thousands more risked their health to vote, and

thousands had their votes counted only because of this Court’s extension of the deadlines for online

registration and receipt of absentee ballots. The discussion that follows describes these events and,

most importantly, demonstrates that the chaos and disenfranchisement of the April election will

happen again in November absent intervention by the Court. The DNC/DPW establish many of

these facts through declarations from 116 Wisconsin citizens who were directly affected by the




                                                  10
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 21 of 74




election day receipt deadline, the witness requirement for absentee ballots, and the other voting

provisions the DNC/DPW are challenging. These declarations, in addition to the expert report of

Dr. Barry Burden, the deposition testimony of WEC representatives, and other evidence are

described in detail in the accompanying Proposed Findings of Fact (DNCFOF). A summary of this

evidence follows.

       A.      Overview of the April 7 election.

       The intervening defendants and even some of the defendant Commissioners scoffed at

concerns for voter safety and security in the run-up to the April 7 election, assuring that voting in

person that day would be like “go[ing] to the store to get household products” or “engag[ing] in

outdoor exercise.” ECF No. 90 at 4. They also insisted there was “no evidence supporting [the

DNC/DPW] claim that absentee ballots will overload the Post Office.” ECF No. 23 at 14. Perhaps

most incredibly, these same people have claimed post-April 7 that the election was “successful”

and “refut[ed]” the plaintiffs’ pre-election “baseless, pessimistic predictions,” “overwrought

claims,” and “failed, sky-will-fall predictions.” ECF No. 200 at 1-2.

       It is an understatement to say that intervening defendants got it wrong. Wisconsin’s

infamous April 7 election was a voting rights and public health fiasco. People throughout the nation

were horrified by images of thousands of Wisconsin citizens forced to stand in long lines for hours

in order to cast their ballots, many wearing masks, gloves, and other protective gear as they

congregated together to vote in the midst of the worst global pandemic in over a century. As of

mid-May, 71 in-person voters and poll workers had tested positive for COVID-19 statewide.

DNCFOF ¶ 6. Equally shocking was the breakdown in Wisconsin’s absentee-voting process and

USPS service, with thousands of voters never even receiving their requested ballots in time to vote

by election day, thus forcing them either to go to the polls during the pandemic and risk exposure




                                                 11
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 22 of 74




to the COVID-19 virus or be disenfranchised altogether. Id. ¶¶ 3, 73-93.

       In response to the pandemic, Wisconsin residents acted by requesting absentee ballots for

the April 7 election at a rate never seen before in the State. Id. ¶ 98. The WEC reports that in the

four spring elections from 2016 to 2019, the number of absentee ballots issued ranged from a low

of 103,533 in 2017 to a high of 249,503 in 2016. Id. ¶ 99. In contrast, the April 7 election saw

1,303,985 ballots issued. Id. ¶ 100. Absentee ballots represented 73.8% of all ballots counted, a

sea change from past elections when absentee votes never comprised more than one in five ballots

and often represented less than 10% of ballots. Id. ¶ 101.

       The shift to absentee voting, however, was not enough to prevent an overall drop in voter

turnout during the pandemic. Id. ¶ 111. Because absentee voting is not sufficient for all individuals

to participate, counties with a higher COVID-19 prevalence saw total voter turnout drop by an

estimated 3.8 percentage points. Id. ¶ 112. The effect was even greater for older people, in

predominantly Black and Hispanic communities, for those with less access to transportation, and

among people who had never voted absentee. Id. ¶ 116.

       Of the votes cast as absentee ballots, a much larger share was issued and returned by mail

than in the past. Id. ¶ 102. In previous spring elections, absentee ballots were about as likely to be

cast in person as by mail. Id. ¶ 103. For example, in the 2019 spring election, officials issued

80,577 absentees in person, but 89,218 absentees by mail. Id. ¶ 104. In 2018, officials issued

55,457 absentees in person, and 74,354 by mail. Id. ¶ 105. In contrast, data from the April 7

election indicate that 196,716 absentee ballots were issued in person and 1,116,833 were issued

by mail, thus making mail ballots about 85% of the total absentee ballots issued in 2020. Id. ¶ 106.

       The extraordinary volume of absentee ballots issued and returned by mail overwhelmed

election officials and the USPS. Local election offices across the state were faced with large




                                                 12
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 23 of 74




backlogs of requests for absentee ballots in the final week before the election, resulting in tens of

thousands of voters receiving their ballots too late to be able to mail them back in time to arrive

by election day. Between April 3 and April 6 (the day before election day), local officials mailed

more than 92,000 absentee ballots to voters across the State, all of which were too late to be mailed

back by election day. Id. ¶ 74. Moreover, according to statistics from the WEC, as of April 7, there

were 1,282,762 absentee ballot applications but only 1,273,374 absentee ballots sent out—a

difference of 9,388 absentee ballots that had not even been sent to the requesting voters as of the

day the voters had to mail them back. Id. ¶ 75.

       Meanwhile, the USPS was losing track of thousands of ballots, many of which, to this day,

have never turned up. A post-election analysis that the WEC conducted describes a disturbing

sequence of events involving lost ballots. Id. ¶ 125. On April 8, a member of the WEC staff

received a call from a USPS official in Chicago reporting that “three tubs” of absentee ballots—

about 1,600 ballots—from the Appleton/Oshkosh area had been found in a postal office in

Chicago. Id. Around the same time, a large number of voters in Fox Valley and Oshkosh reported

they had not received the absentee ballots they had requested or that they received them after

election day. Id. ¶ 126. And, in the Village of Fox Point, a bin containing about 175 ballots was

delivered to the clerk’s office on the morning of election day—all of the ballots were unopened

and had never been received by the voters. Id. ¶ 127.

       These events caused WEC Commissioner Spindell to admit that the 1.2 million mail-in

votes in Wisconsin in April “completely overwhelmed our election system.” Id. ¶ 78. Thousands

of mail-in ballots, he stated, were “floating around” the post office and did not make it into the

system. Id. ¶ 79.

       Indeed, one voter described election day as “a crushing day” because the voter’s sister, a




                                                  13
        Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 24 of 74




cancer survivor, never received her absentee ballot, the “[f]irst time she will not be voting.” Id.

¶ 80. A couple requested their absentee ballots at the same time. While one ballot arrived, the

husband “had to call three times and finally received it three weeks after [his spouse] did.” Id. ¶ 81.

Milwaukee voters reported their ballots did not arrive until the day after election day: “We weren’t

able to get them into the mail until the 9th, which guaranteed our votes would not be counted.” Id.

¶ 82.

         Those who decided—or were forced—to vote in person did not fare much better. Most

infamously, major cities like Milwaukee and Green Bay consolidated hundreds of polling places—

182 to five in Milwaukee, 31 to two in Green Bay—resulting in confusion, long wait times, lines

stretching for blocks, and crowds. Id. ¶¶ 55-57. The result was “unacceptable,” according to one

Green Bay voter who waited in line for 3.5 hours. Id. ¶ 58. Another Green Bay voter “stood in the

rain . . . 5 hours and [explained] I’m high risk for the virus and I’m scared.” Id. ¶ 59. A Milwaukee

voter describing a relative’s three-hour wait called it “despicable that citizens are forced to choose

between being healthy and voting.” Id. ¶ 60. Some Wisconsinites simply could not vote, such as

the Milwaukeean who “went to the voting site every two hours over the course of the day, but the

line was always at least 300 people and at 81 years old with some lung issues, I could not join the

end of the line.” Id. ¶ 61.

         Jeannie Berry-Matos, a 55-year-old African-American resident of Milwaukee, had a

similar experience. See id. ¶ 62.8 She suffers from asthma and is therefore at high-risk for

complications if she were to contract COVID-19. She requested and received her absentee ballot



         8
           As explained in the Declaration of David Kronig, submitted concurrently herewith,
plaintiffs have also filed with their preliminary injunction filings approximately 116 declarations
of approximately 220 declarations obtained from Wisconsin citizens that describe their experience
trying to vote in the April 7, 2020 election (cited in plaintiffs’ proposed findings as “Voter
Declaration of __”).

                                                  14
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 25 of 74




to avoid going to the polls in person, but when her ballot arrived, she discovered it was for the

wrong ward. Id. She contacted both the Milwaukee city elections clerk and the state government

to try to correct the error, but was unable to get the right ballot mailed to her. Id. She went to vote

in person on April 7 at Washington High School, and found a line stretching several blocks and

the only available parking a significant distance away. Id. There were no markers in the lines or

poll workers to enforce proper social distancing, and, though she brought her own mask, many

voters did not, and there was no way to sanitize the pens nor her photo ID. Id. All in all, it took her

an hour and thirty-five minutes to vote. Id.

       B.      The election-day receipt deadline continues to threaten to disenfranchise
               voters.

       As the discussion above demonstrates, the problems that local officials faced with

unprecedented demand for absentee ballots, coupled with systemic dysfunction within the USPS,

made the election day receipt deadline unworkable. This Court recognized this reality when it

extended the deadline by six days and thereby saved the votes of a minimum of nearly 80,000

people. Now, with the November election looming, the same circumstances that caused the Court

to act three months ago are present and are again threatening Wisconsin voters with massive

disenfranchisement.

       First, the worst global pandemic in over a century is getting worse by the day—worse

around the world, worse in the United States, and worse in Wisconsin. DNCFOF ¶¶ 30-36.9 The


       9
          Intervening defendants have argued that the DNC/DPW’s failure to seek injunctive relief
for each of the four Wisconsin elections this year somehow constitutes an admission that the
pandemic is not as bad as plaintiffs claim; otherwise, how could plaintiffs have passed up litigation
over a special election to fill the vacancy in Wisconsin’s CD-7 or a set of largely uncontested
partisan primaries in mid-August? See, e.g., ECF No. 144 at 4. To articulate that argument is to
refute it. These two low-turnout elections are hardly comparable to the high-turnout, high-stakes
April 7 spring primary or the vastly greater turnout expected in the November 3 election. The
DNC/DPW simply do not have the war chest available to the RNC/RPW to fund endless rounds


                                                  15
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 26 of 74




trend lines are going up in too many respects, not down. Id. Decisions to reopen this State too soon

are now reaping the whirlwind of a worsening crisis. Id. ¶ 40, 47. The approaching November 3

election threatens to be a train wreck not only because so many more people will be voting in

November than in April (and there is a highly motivated electorate in this election), but because

the pandemic will probably not be any better in November than it was in April. It could very well

be much worse, particularly without the relief plaintiffs are seeking to protect both in-person and

absentee voting. Id. ¶¶ 30-51, 132.10

       The DNC/DPW will defer to the Gear and Swenson plaintiffs to present the facts and

testimony necessary to address the epidemiological and public health issues, in particular to refute

the intervening defendants’ claims that recovery is just around the corner. The DNC/DPW




of scorched-earth motions and appeals. And clearly the DNC/DPW lack the statutory ability the
Legislature granted itself (with the outgoing Governor’s blessing) to hire multiple private law firms
charging national rates, and then charge the entire legal bill to state taxpayers. Plaintiffs simply
cannot match these deep pockets, and must choose their battles selectively.
       10
          Intervening defendants also have taken periodic jabs at the DNC and DPW because of
the long-scheduled upcoming Democratic National Convention in Milwaukee from August 17-20.
The Legislature reasons that, since the DNC is planning on holding “the extremely large
Democratic Nation Convention ‘in person … in Milwaukee,’” Democrats must not really believe
the pandemic is dangerous in this State. ECF No. 200 at 11; see id. at 2 (“Plaintiffs do not appear
to believe what their lawyers are now arguing,” since the DNC is holding its “extremely large, in-
person” National Convention in Milwaukee). This comparison is spurious. The Democratic
National Convention Committee (“DNCC”) has emphasized that the convention will “protect
public health” by actually implementing recommendations from public health officials. And, while
“Milwaukee w[ill] anchor events for the week,” the Convention will include “both live broadcasts
and curated content from Milwaukee and other satellite cities, locations and landmarks across the
country.” As part of this commitment to public health, the DNCC has brought on nationally
recognized health experts to advise on the safety of the convention, has eliminated “several large-
scale events attended by thousands of people” that have been mainstays in past conventions, and
has “determined state delegations should not plan to travel to Milwaukee and should plan to
conduct their official convention business remotely.” Umberger Decl. Ex. 74. These measures
underscore just how the DNCC is committed to protecting the health of Convention attendees and
Wisconsinites. Simply put, the DNC is trying to make it as easy as possible for delegates to
participate and vote remotely.

                                                 16
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 27 of 74




especially call the Court’s attention to the compelling (and deeply concerning) expert reports

presented by the Gear and Swenson plaintiffs:

             Dr. Meghan Murray, Professor of Global Health at the Harvard Medical School and
              Professor of Epidemiology at the Harvard Chan School of Public Health, who is
              appearing as an expert for the Gear plaintiffs; and

             Dr. Patrick Remington, Professor Emeritus in the School of Medicine and Public
              Health, University of Wisconsin-Madison, who appears for the Swenson plaintiffs.

These experts’ reports and testimony will comprehensively and convincingly refute the intervening

defendants’ irresponsible arguments that things may be back to normal by election day.

       The intervening defendants repeatedly in recent weeks have questioned “the health risks

that COVID-19 may cause” during the runup to the November 3 election. E.g., ECF No. 200 at 18.

They question whether “[t]he future course of the COVID-19 pandemic in Wisconsin” will be as

bad as the plaintiffs’ “sky is falling predictions,” and suggest there may be new “types of

treatments” by then. Id. They cite no medical experts for these irresponsible claims. The opinions

of the only medical experts who are in this case establish persuasively that the virus will,

unfortunately, continue to spread, that there is no vaccine on the horizon, and that the pandemic

will continue to be a forceful, lethal presence in November.

       Due in substantial part to the pandemic, the number of absentee ballots in the November

election is expected to far surpass the volume of ballots that overwhelmed election officials and

the USPS will be able to timely process in the April election. In comparison to the nearly 1.2

million absentee ballots cast in April, the WEC has already sent absentee ballot request forms to

approximately 2.7 million voters for the November election and, as noted, WEC officials believe

the number of absentee ballots cast easily could exceed 1.8 million if the April voting patterns

hold. Because of the deliberate attempts to encourage absentee voting and the high turn-out

associated with presidential elections, officials of the WEC are preparing for an unprecedented


                                                17
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 28 of 74




level of absentee voting that will stretch election officials and the USPS well beyond what they

experienced in April. Adding to the challenge, tens or hundreds of thousands of voters will be

voting absentee for the first time, which materially increases the likelihood that large numbers of

voters will be disenfranchised without relief from the absentee ballot deadline. DNCFOF ¶ 86.

Commissioner Spindell put it bluntly, stating that the problems of ballots “not sent to voters on

time” and “ballots not returned on time” . . . “would only multiply and create more chaos and

endless lawsuits in November.” DNCFOF ¶ 89 (emphasis added).

       To make these dire predictions even worse, nothing appears to have been done to address

the systemic problems at the USPS that led to so many lost and late absentee ballots. The WEC

still has no answer or explanation for what led to the USPS’s mishandling of these thousands of

ballots. The USPS itself has given no indication that it has addressed any of the issues that occurred

in the April election and no assurances to WEC that these same problems will not happen again in

November. DNCFOF ¶ 84. As Commissioner Spindell testified, the handling of ballots by the

USPS during the April election was the “wild, wild west,” and he “still [doesn’t] understand what

happened.” DNCFOF ¶ 141. Despite this, as Commissioner Spindell and Ms. Wolfe confirmed,

the WEC is not engaged in any ongoing efforts with the USPS to develop a plan for avoiding the

many problems that occurred in April. DNCFOF ¶ 144.

       The cumulative effect of these factors is that the election-day receipt deadline again poses

a clear and present danger that tens, if not hundreds of thousands of Wisconsin voters will face

“high hurdles,” Frank II, 819 F.3d at 386, in receiving and returning their absentee ballots through

the USPS on a timely basis. Indeed, as Ms. Wolfe described, voters should assume for the

November election that it will take two weeks for an absentee ballot to make its way through the

mail from a clerk’s office to a voter and back again. DNCFOF ¶ 142. This means that voters who




                                                 18
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 29 of 74




request absentee ballots in the final two weeks before the election – voters can request ballots until

five days before election day – will not have sufficient time to mail their ballots back for arrival

by election day. As described by Plaintiffs’ expert, Barry Burden, the use of a strict ballot receipt

deadline in this circumstance results in a system that is designed to fail, which of course presents

the highest of hurdles. DNCFOF ¶ 146. Many voters will again suffer the totally unacceptable and

unconstitutional injury that so many suffered in April—e.g., timely requested absentee ballots that

do not arrive in time to vote, and timely returned ballots that do not make it back to local election

officials by the normal deadline. See, e.g., Umberger Decl., Ex. 26 (discussing voters, such as a

pregnant health care worker, who did not receive their absentee ballot by the deadline and could

not vote in-person); see also Voter Decls. of Muawia Albanaweh, Hannah Gleeson, Rebecca

Crowder, Neil Daniels, Patricia Sherman-Cisler, Susan Heinz, Elsie Thomas, Eric Vanvught, Lori

Fares, Bridget Fogerty, Keri Petrie, Steven Reigle, Hannah Saxman, Eric Lind, Nathaniel Rendall,

Katherine Ruh, and Delany Zimmer.

       Unfortunately, the task of protecting these and the many voters like them will again fall to

this Court, as there is no sign that either the WEC or the Wisconsin Legislature intends to address

this issue for the November election. Commissioner Spindell made this clear when he testified in

deposition that he sees no reason to extend the deadline for the November election. DNCFOF ¶ 90.

But, as we learned in April and as the WEC acknowledges, the simple solution of extending the

deadline by at least six days will not impose any meaningful burden on the WEC or election

officials. On the contrary, as WEC Elections Administrator Meagan Wolfe testified, election

officials were able to meet all post-election canvassing deadlines notwithstanding this Court’s six-

day extension of the deadline in April, and the extension gave election officials time to tabulate

and report election results more efficiently and accurately. DNCFOF ¶195. And that modest, short




                                                 19
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 30 of 74




extension saved the timely cast, valid ballots of 79,054 Wisconsin citizens from being rejected.

        C.     The continuing disenfranchising effects of the witness-certification
               requirement.

       Wisconsin’s requirement that each voter submitting an absentee ballot have another adult

witness sign their ballot puts tens of thousands of Wisconsin voters in an untenable situation and

unconstitutionally burdens their right to vote. See Wis. Stat. § 6.87(2); see also DNCFOF ¶ 149.

Over 600,000 Wisconsinites live alone, and even more live with an individual who is unqualified

to be a witness (e.g., a child or non-citizen). DNCFOF ¶ 150. With the health risks of venturing

out to find a witness during the COVID-19 pandemic, and any requirements of local orders

regarding social distancing that may be in place at the time, a large number of voters who live

alone—many of whom are elderly and vulnerable to COVID-19—will not have a witness to attest

to their absentee ballots in November 2020. Id. ¶ 151.

       As the Court will recall, the WEC’s previously proposed “alternative suggestions” for

fulfilling the witness requirement included having the witness observe the voter over Skype, the

voter mail the completed ballot to the witness, and the witness sign and date the ballot. DNC v.

RNC, Nos. 20-1538 & 20-1546, at *3. These proposed alternatives to fulfilling the witness

requirement proved woefully insufficient during the April election. According to reporting by local

election officials, 14,042 returned absentee ballots were rejected because of “insufficient”

certification. DNCFOF ¶ 156. Moreover, there are strong grounds to believe that many of the

135,417 unreturned ballots—over 10% of all ballots sent out—were not returned because the

voters who had requested them were unable to navigate the witnessing requirements in the midst

of the pandemic and resulting isolation from others. Id. ¶ 157; see also the Voter Decls. of

Elizabeth Trogdon, Dolores Garm, Susan Heinz, David Mouradian, Casey Hines, and Stephan

Thomas that accompany this brief.



                                                20
      Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 31 of 74




        Dolores Garm is one such voter who received her ballot on time, but whose vote was never

cast because of an inability to comply with the witness requirement. See DNCFOF ¶ 158. Being

disabled with heart disease and other risk factors, she knew she could not go out during the

pandemic. When she saw the witness portion of the ballot, she called the municipal clerk to ask if

she had any option given that she lived alone. Unfortunately, given that the answer was no, Ms.

Garm did not send in her ballot. She had no way to satisfy the witness requirement, and she knew

her ballot would not be counted.

        Elizabeth Trogdon was another voter stymied by the witness requirement in the time of a

pandemic. See DNCFOF ¶ 159. As Ms. Trogdon explains, she could not vote in person given

certain health conditions, and was also experiencing symptoms of COVID-19. She consulted with

the Veteran’s Administration and was told that, based on the symptoms described, she was

considered positive for COVID-19 and should self-isolate. Ms. Trogdon was able to request and

receive an absentee ballot in time to return it, but was not able to do so with a witness signature

given her instructions to self-isolate. While she mailed in her ballot during a time when the witness

requirement had been waived, that ruling was reversed and Ms. Trogdon’s ballot was rejected as

a result.

        Although the Seventh Circuit suggested that one way for a voter to “satisfy the statutory

signature requirement” might be “by maintaining the statutory presence requirement but not

requiring the witness’s physical signature,” DNC v. RNC, Nos. 20-1538 & 20-1546, at *4, the

WEC has not taken any steps to explore or implement that option. See, e.g., Umberger Decl., Ex.

36. Nor has the WEC done anything in response to the Seventh Circuit’s suggestion to consider

other alternatives for voters to satisfy the requirement in a way that recognizes the realities of the

public health crisis. Indeed, evincing a complete disregard for the pandemic and the people directly




                                                 21
      Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 32 of 74




affected by it, Commissioner Spindell testified that even someone who has been diagnosed with

COVID-19 should be required to interact with a witness to have her ballot signed because that is

the law. DNCFOF ¶ 154.

        What is the explanation for the repeated disenfranchisement caused by this requirement?

A fear of phantom “fraudsters” (this is the Legislature’s word) apparently waiting to commit ballot

fraud if the witness-certification requirement is modified or, as discussed below, the challenged

proof requirements are waived for the duration of the pandemic. Yet there was not a single reported

incident of voter fraud in connection with the election. Id. ¶ 180. Ms. Wolfe testified she was not

aware of any, and Commission Spindell could not identify any either. Id. Indeed, while referring

to “rumors” of improper voting and asserting that even the availability of absentee voting is a “hot

button” issue for Republicans, Commissioner Spindell ultimately conceded that he knows of not a

single incident of improper voting in April when approximately 1.2 million absentee ballots were

cast. Id. ¶ 181.

        D.         The continuing disenfranchising effects of the photo ID and proof-of-
                   residence requirements.

        Wis. Stat. §§ 6.86 and 6.87, which require a copy of a voter’s photo identification to

accompany a request for an absentee ballot, continue to burden voters. In the April election, many

voters did not attempt to vote absentee because they could not meet these ID requirements,

especially those without access to smartphones or the Internet. DNCFOF ¶¶ 162-63. Also

burdensome is the requirement that copies of proof of residence accompany electronic and by-mail

voter registration. Wis. Stat. § 6.34. Given the alarming increase in reported cases in recent weeks,

it is unclear whether and to what extent most workplaces, public libraries, and copy shops will be

open in October and November. Even if those establishments remain open, many voters continue

to be fearful of leaving their homes because of the health risks of the coronavirus pandemic, their



                                                 22
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 33 of 74




own doctors’ recommendations, and the restrictions imposed under their respective county and

local health orders. DNCFOF ¶ 164.

       Nor do voters feel any more confident because of the so-called “indefinite confinement”

safety net that this Court relied on in its pre-election decision. Many voters probably didn’t even

know about it, let alone understand what it means. The provision exempts from the voter ID

requirement those who are facing a difficult time getting to the polls “because of age, physical

illness, or infirmity, or is disabled.” Wis. Stat. §§ 6.86(2)(a), 6.87(4)(b)(2). “Indefinitely confined”

is not a self-defining term, and in the absence of explicit, prominent instructions on the absentee

ballot request form, many voters are likely to misunderstand their entitlement to claim this status

and, if they are otherwise unable to copy or upload an acceptable photo ID, may forego attempting

to obtain an absentee ballot. See DNCFOF ¶ 170; Burden Rep. at 12-13. Those who even knew

about this option in the April election were given vague, confusing, and often contradictory advice.

Shortly after the election, the League of Women Voters of Wisconsin explained that “few voters”

were aware of the law and there was not an “adequate, broad public education campaign” to assist

voters who would qualify under it. DNCFOF ¶ 171. Instead, voters learned about it “in a piecemeal

way,” through groups like the League. Id. ¶ 172.

       The “indefinitely confined” option gets only passing mention in WEC’s currently proposed

instructions to voters who request an absentee ballot for the November election. Id. ¶ 167. The

WEC’s proposed instructions do not tell voters that designation of indefinitely confined status is

for each individual voter to make based on how they feel about their own current circumstances,

nor are they told that a claim of indefinitely confined status does not require permanent or total

inability to travel outside of their residence. Id. ¶ 168. The instructions to voters do warn, however,

that they may be fined $1,000 or imprisoned up to 6 months for falsely making an assertion in




                                                  23
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 34 of 74




connection with the indefinitely confined option. Id. ¶ 169. And, both Ms. Wolfe and

Commissioner Spindell are unaware of any plans the WEC has to modify its guidance on

indefinitely confined status to clarify that COVID is a qualifying condition. Id. ¶ 173.

       Moreover, this exception does not apply to the proof of residence requirement. Even

individuals who are indefinitely confined must provide copies of proof of residence when they

register to vote online or by mail. Wis. Stat. § 6.34.

       E.      The WEC defendants’ June 25 Status Report.

       The plans and procedures outlined in the WEC’s June 25 report to the Court do not resolve

any of the DNC/DPW’s claims. The DNC/DPW and their counsel have respect and appreciation

for the WEC Executive Director and her staff, and for the thousands of local election officials, poll

workers, and other election volunteers throughout Wisconsin’s 1,852 local election jurisdictions

whose heroic efforts mitigated the damage caused by the challenged provisions and the unyielding

partisan gridlock in Wisconsin. The April 7 election could not have been conducted in the midst

of an unprecedented global pandemic without their efforts. And the Status Report outlines several

promising reforms that DNC/DPW appreciate and fully endorse.

       That said, the Status Report acknowledges once again that the WEC has no authority to

modify statutory deadlines or proof requirements like those challenged by the DNC/DPW.

DNCFOF ¶ 204. That answers the question with respect to nearly all of DNC/DPW’s claims, which

with one exception all seek either extensions of deadlines or modification of proof requirements.

On those matters, the Court must act because there nothing left for the Commission to do.

       First, there is no real effort in the Status Report to address the multiple breakdowns in the

Wisconsin voting system. To be sure, the WEC has taken some steps, and the report claims to be

“studying” and “consulting” on various issues. But on key issues there is little discussion of what




                                                 24
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 35 of 74




the WEC will do itself, or recommends be done by others, so that all voters have reasonable access

to reliable, safe, and convenient absentee voting, early in-person voting sites, and election day

polling sites. For example:

       •       The Report does not address the fact that more than 80,000 ballots arrived after

               election day, through no fault of the voter, and offers no plan for dealing with the

               probable repeat of that problem. Relatedly, there is no request in the Report to the

               Governor or the Legislature to extend the ballot receipt deadline or take any other

               steps to address this impending crisis.

       •       There is no discussion of setting a minimum number of polling places and safety

               standards that must be available to each Wisconsin citizen.

       •       There is no discussion of proposed actions to address the dysfunction of the USPS.

               Nor is there even any attempt to provide the best-available answers to the many

               questions about what happened to so many ballots lost in the mail system and what

               the WEC should to in response given that November 3rd is rapidly approaching.

               There is no detailed explanation of what happened to the mail, and no suggested

               plan for dealing with those postal problems in November.

       •       Nor does the Report include a discussion of the fact that because of COVID, there

               is a strong need to allow voters to register longer than allowed by statute. There is

               no request to the Governor or the Legislature to extend the period for online

               registration even though extending that period in April allowed 55,000 additional

               people to register without imposing significant burdens on the WEC. DNCFOF

               ¶¶ 194-97.

       Second, the Seventh Circuit stayed this Court’s injunction regarding the witness




                                                25
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 36 of 74




certification requirement, emphasizing that the WEC had just issued an Absentee Witness

Signature Requirement Guidance several days earlier and expressing hope that voters could “take

advantage of one or another of the Commission’s suggestions for obtaining a signature.” April 3

Order at 4. The Seventh Circuit encouraged the WEC to continue exploring ways to administer the

witness-signature requirement in a way that respects the life-and-death need of many voters to

isolate themselves from contact with others while ensuring that the purposes of the certification

requirement are fulfilled. Id.

       Remarkably, the Status Report is silent on these issues. The Report literally does not

contain the words “witness,” “certify,” or “certification.” There is no effort to evaluate the success

of the WEC’s pre-election Guidance in helping voters overcome the obstacles they encountered;

no effort to take the Seventh Circuit up on its suggestion to consider other ways to help voters in

overcoming difficulties with the witness-certification requirement; and no consideration of how

better to educate voters (many of whom have never voted absentee before) on compliance with the

requirement.

       Third, the Report is completely silent on numerous interpretative issues. In the context of

voting during the present pandemic, what does it mean to be “indefinitely confined”? How is that

term interpreted? Who qualifies? And what about guidance concerning the U.S. Supreme Court’s

newly invented election-day postmark requirement? What does it mean to be “postmarked”? What

if an envelope arrives on November 4, the day after the election, without a postmark on it? The

envelope obviously was mailed on or before election day; why should it be discarded because it

lacks a postmark? The 1,852 local election jurisdictions in Wisconsin desperately need guidance

and leadership on these and many other urgent matters.




                                                 26
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 37 of 74




                                         ARGUMENT11

I.     This Court should extend the injunctive relief granted for the April 7 election to the
       November 3 general election.

       This Court’s extensions of the online registration and election-day receipt deadlines were

a smashing success. The extensions enabled an additional 57,187 Wisconsin voters to register

online, safe and secure from the pandemic; and they saved the votes of 79,054 citizens who cast

valid, timely ballots but would have been disenfranchised by the election-day receipt deadline, but

for this Court’s intervention. And according to state election administrators, these extensions were

easy to accommodate and imposed few additional administrative burdens. And no one has pointed

to any evidence that these extensions led to any voter fraud or other systemic problems. On top of

that, turnout will be vastly larger in November, local election officials will probably be

overwhelmed by the volume, and the USPS will continue to be unreliable. And the pandemic will

still be with us on November 3.

       There is, in short, nothing on the Anderson-Burdick scales to outbalance the many positive

effects of this Court’s extensions, including avoiding widespread disenfranchisements and helping

to maintain at least degree of public confidence that a ballot cast will be a ballot counted. The



       11
           This Court previously held that the DNC and DPW have Article III standing (1) “to
assert the rights of [their] members who may face burdens to vote in upcoming elections”; and (2)
to assert their own organizational injuries resulting from having to divert time, money, and other
resources away from other party priorities to dealing with the challenged provisions’ adverse
impacts on party registration and GOTV activities. ECF No. 37 at 6-7; see especially Crawford v.
Marion Cty. Election Bd., 472 F.3d 949, 951 (7th Cir. 2007) (Democratic Party had standing
because of impact to members and its diversion of resources “to getting to the polls those of its
supporters who would otherwise be discouraged by the new law from bothering to vote”), aff’d,
553 U.S. 181, 189 n.7 (2008). The DNC and DPW have submitted updated evidence demonstrating
that they continue to suffer both kinds of Article III injuries as the direct and proximate result of
the state action in this litigation. See DNCFOF ¶¶ 16-22. We call the Court’s attention in particular
to the 116 signed declarations gathered by the DPW illustrating the severe, frequently
disenfranchising burdens the challenged provisions have had upon its members throughout the
State. See DNCFOF ¶ 48 n.14.

                                                 27
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 38 of 74




Seventh Circuit’s new decision in Luft does not change the analysis in the least. Deadlines are

extended if there are systemic crises that threaten to undermine the electoral process. Luft reminds

us that “[c]ourts must weigh [any individual] burdens against the state’s interests by looking at the

whole electoral system,” and that when an analysis of that “whole” system, taken together, shows

that citizens’ voting rights are in danger of being “severely restricted” on a widespread basis, the

State must have “compelling interests” for its restrictions and ensure they are “narrowly tailored.”

Luft, 2020 WL 3496860, at * 3. As April 7 already has shown, the challenged deadlines “severely

restrict” voting activity on a broad scale, and they serve no ”compelling interests,” especially in

the midst of the COVID-19 pandemic. Id. The Court should grant the same relief it previously

granted, as modified on appeal. It also should include by-mail registration in its extension of the

online registration deadline.

       A.      This Court should again extend the online registration deadline, and should
               include by-mail registration in that extension.

       This Court enjoined enforcement of the March 18, 2020 online registration deadline and

extended the deadline to March 30, finding in the context of the pandemic and the urgent need for

people to avoid crowded places that the deadline imposed an undue burden on the right to vote.

ECF No. 37 at 10-15.

       [T]he court cannot help but take judicial notice of the excruciating dilemma that
       will soon be faced by eligible voters who did not register by the March 18, 2020
       deadline: either venture into public spaces, contrary to public directives and health
       guidelines or stay at home and lose the opportunity to vote. Moreover, while the
       Court recognizes the state’s interest in the orderly administration of elections, a
       short extension of the registration deadline would on its face appear to impose only
       a minimal burden while potentially affording a great number of as yet unregistered
       voters the opportunity to exercise their franchise by safely voting absentee.

Id. at 11-12. The Court acknowledged that the WEC and local election officials could bear

additional expenses and burdens in extending the online registration deadline, but concluded they




                                                 28
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 39 of 74




were “a reasonable downside to equitable relief that could increase both the robustness and health

of the electorate, especially in light of the corresponding effect of having fewer, in-person voters

to manage on election day.” Id. at 13. Though “far from a perfect solution,” the 12-day extension

of online registration would help “individuals who either were not aware of the March 18, 2020

deadline, or learn of this court’s extension of that deadline,” to register online and thus avoid the

potential exposure of having to register in person. Id. at 14.

       This Court should grant similar relief again, enjoining enforcement of the October 14

online registration deadline under Wis. Stat. § 6.28(1) and extending that deadline to October 30,

the Friday before the election. Under Wis. Stat. § 6.28(1), the deadlines for registrations in person,

by mail, and electronically all close on “the 3rd Wednesday preceding the election”—i.e., 21 days

before the election. This provision goes on, however, to authorize registrations in person (but not

by mail or electronically) to continue for those voters who cast “in-person absentee ballot[s]” or

vote at the polls on election day. Id. Thus, those casting in-person absentee ballots may continue

to register until the Sunday before the election, see id.; id. § 6.86(b), and those voting at the polls

may register on election day itself, but those seeking to register by mail or electronically must do

so no later than three full weeks before the election. This will be before voters have even evaluated

the candidates in the second and third scheduled Presidential debates this October, and before some

voters will even decide whether to vote. DNCFOF ¶ 184.

       Historically, Wisconsin voters have registered to vote in person in large numbers, relying

heavily on same-day registration during in-person absentee voting or on election day. As a result,

thousands of Wisconsin voters typically do not register before they vote. However, many

Wisconsinites did not have viable in-person registration options for the April 7 elections. In-person

absentee voting was shut down in many parts of Wisconsin. Id. ¶ 54. And many Wisconsinites




                                                  29
      Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 40 of 74




were understandably reluctant—if not altogether unable—to venture out in public to register and

vote either through in-person absentee voting or at the polls, given the public health risks during

the pandemic. See, e.g., id. ¶¶ 48, 164, 188. For these voters, failure to register 21 days prior to

the election effectively meant they could not vote.

        No valid, reasonable state interests are served by this disparity and discrimination against

by-mail and electronic registration. If election officials can accommodate registrations as late as

election day when done in person, there is no sufficient reason why they cannot accommodate by-

mail and electronic registrations much closer to the election than “the 3rd Wednesday preceding”

it. Id. ¶ 191.

        That’s exactly what the WEC has confirmed in its Rule 30(b)(6) deposition: the extension

of the electronic registration deadline to March 30 imposed only minimal burdens while affording

many voters the opportunity both to register and to vote without risking exposure to the COVID-

19 virus. In fact, Ms. Wolfe confirmed that the WEC could have accommodated an extension of

both the electronic and the by-mail registration deadlines to April 3, the Friday before the election.

Id. ¶¶ 194-95. The Court’s expressed concern about moving the deadline for by-mail registrations

to April 3―that envelopes mailed on April 3 might keep trickling in for several days, too close to

the election―could easily be resolved by making April 3 a receipt deadline for all by-mail and on-

line registration requests, rather than following a “postmark” rule that would allow this late-

arriving problem to occur.

        Absent relief by this Court, unregistered but eligible voters who decide to register and vote

shortly before the November election will face the same “excruciating dilemma” identified by this

Court—“either venture into public spaces, contrary to public directives and health guidelines or

stay at home and lose the opportunity to vote.” ECF No. 37 at 11; DNCFOF ¶¶ 192, 200.




                                                 30
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 41 of 74




       B.      This Court should again extend the election-day ballot-receipt deadline.

       The Court should extend the deadline to receive absentee ballots to at least November 13,

2020, so long as the ballots are mailed by election day. This Court’s extension of the ballot receipt

deadline allowed nearly 80,000 Wisconsinites to vote in the April election without causing any

administrative problems for elections officials. See WEC May 15 Report at 7; DNCFOF ¶ 129.

       As described above, in the weeks leading up to the April election, an unprecedented

number of ballot requests overwhelmed clerks and reports of slower mail service indicated that

thousands of Wisconsinites would not receive their ballots in time to turn them in by election day.

Over 9,300 voters had not received their timely requested absentee ballots by April 7. DNCFOF

¶¶ 75, 124.

       This Court’s extension was necessary but not sufficient, and the risk of disenfranchisement

will only increase in November. Even with this Court’s extension, almost 4,700 ballots arrived

after the new deadline of April 13. Id. ¶ 73. The USPS performed so abysmally that Wisconsin’s

U.S. Senators made a bipartisan demand for the USPS Inspector General to begin an investigation

into “absentee ballots not being delivered in a timely manner.” Id. ¶ 83. A full discussion of these

facts, including the unprecedented volume of absentee ballots expected in November, is set forth

above and in the accompanying proposed findings of fact, and we will not repeat them here. See

Id. ¶¶ 73-93, 122-46.

       Moreover, April 7 in Wisconsin was not a one-time fluke that is unlikely to recur here or

elsewhere. To the contrary, other states with elections since April 7 have reported significant

problems with voters receiving absentee ballots on time and elections officials receiving timely

mailed ballots. Id. ¶ 133. Almost 5,500 South Carolinians who timely requested absentee ballots

for the June 9 election had not received them by the end of election day. Id. ¶ 134. During the June

9 primary, Georgia’s overwhelmed system lost some voters’ absentee ballot requests and some

                                                 31
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 42 of 74




Georgians reported they had not received their requested ballot on the eve of the election. Id. ¶

135. Some Georgians who mailed in their ballots by the recommended time and even by overnight

mail were surprised to learn that the ballots did not arrive on time to be counted. Id. ¶ 136. Georgia

rejected at least 8,000 ballots for arriving late. Id. ¶ 137. Pennsylvania and New York extended

their ballot receipt deadlines through judicial decisions, executive action, or both. Id. ¶ 138.

       The increase in mail volume stretched the capacity of the USPS during Ohio’s election on

April 28. In Ohio, voters expressed frustration with delays in obtaining and submitting their

absentee ballots. Five days before the April 28 election deadline, Ohio Secretary of State Frank

LaRose wrote to the state’s congressional delegation, informing them that problems with mail

delivery were affecting absentee voting. LaRose explained that, “we are finding that the delivery

of the mail is taking far longer than what is published by the United States Postal Service (USPS)

as expected delivery times. Instead of first-class mail taking 1-3 days for delivery, we have heard

wide reports of it taking as long as 7-9 days.” Burden Rep. at 11-12.

       The fact that hypothetical voters could send in their absentee ballots a month before the

election does not cure the issue. The State permits voters to request absentee ballots up until five

days before the election, as it should. Not only is it human nature to procrastinate, but also those

who are forced to vote so early pay a price. Prospective voters who wish to participate in the

November election but are reluctant or unable to vote in person on election day are in effect forced

to cast ballots by mail before the presidential campaign has ended, during the crucial final weeks

when so many voters first begin to pay attention to the campaign and the undecided are struggling

to decide. The third and final 2020 Presidential Debate will occur on October 22, 2020⸺only 12

days before election day. DNCFOF ¶ 185. “The most intense period of a presidential campaign

occurs in the final days before election day. For example, television advertising by presidential




                                                 32
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 43 of 74




campaigns generally . . . reaches its maximum volume in the week before the election.” Burden

Rep. at 12. “There may be” an “October surprise,” “late-breaking news or events that influence

voters’ candidate preferences.” Id. “For example, an analysis of the accuracy of polling from the

2016 presidential election found evidence of late breaking movement toward Donald Trump that

might have been the result of an announcement on October 28 by FBI Director James Comey that

his office would review new evidence in a probe of Hillary Clinton’s email.” Id. at 12-13. In

2016, exit polls indicated that 10% of Wisconsinites decided how they would vote in “the last few

days.” Id. at 13. A fair voting system accommodates those voters, especially during a pandemic.

       Avoiding the complete disenfranchisement of tens of thousands of Wisconsinites far

outweighs any administrative burden on the State from the extended deadline. See Ne. Ohio Coal.

for Homeless v. Husted, 696 F.3d 580, 597 (6th Cir. 2012) (disqualified provisional ballots that

constituted less than 0.3% of total votes inflicted “substantial” burden on voters); Ga. Coal. for

People’s Agenda, Inc. v. Kemp, 347 F. Supp. 3d 1251, 1264 (N.D. Ga. 2018) (severe burden existed

where 3,141 individuals were ineligible to register). There is ample time to extend the ballot-

receipt deadline to November 13 so that late-arriving ballots may be counted. Wisconsin law gives

counties until November 10 to begin their canvasses, and until November 17 to complete them.

Wis. Stat. § 7.60. The State itself need not complete its canvass until December 1. Id. § 7.70(3)(a).

During the April 7 election, the State counted the ballots received by 4:00 pm on April 13 without

issue and announced the results shortly thereafter. The WEC acknowledged in its Rule 30(b)(6)

deposition that the administrative burdens caused by this Court’s prior deadline extensions were

modest and manageable. See DNCFOF ¶ 195. There is no reason to expect a different result in

November.

       A modest extension of the receipt deadline is “narrow” relief, ECF No. 170 at 50, that




                                                 33
      Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 44 of 74




already has survived one round of Seventh Circuit and Supreme Court review. Such relief will

give voters maximum certainty as November approaches and avoid disfavored last-minute changes

to election procedures. In the alternative, this Court could retain jurisdiction, require WEC to

provide periodic reports, and later extend the ballot receipt deadline if doing so appears necessary

at a later time. See generally Luft, 2020 WL 3496860, at *11 (“let [the State] try and see what

happens”). We believe that all stakeholders would be better served by extending the deadline well

in advance of November 3.

II.    This Court should again grant limited injunctive relief against Wisconsin’s witness-
       certification requirement, modified to resolve the Seventh Circuit’s concerns.

       The DNC/DPW believe this Court granted the right relief on the witness-certification issue

last time around, for all of the right reasons, and that the Court can meet the concerns expressed in

the Seventh Circuit’s April 3 stay order through fairly modest adjustments to this Court’s earlier

relief. DNC/DPW believe this modified approach is not only consistent with the Frank line of

decisions and the newly released decision in Luft v. Evers, but compelled by those decisions.

Specifically, the Court should order the WEC to provide a form on which voters may claim an

exemption from the witness-certification requirement because of certain specified conditions,

provided that (a) the claim is signed by the voter under penalty of perjury, (b) the voter provides

all available contact information so that local election officials can quickly follow up with any

questions or concerns, and (c) the voter cooperates with local election officials. These

modifications would bring the Court’s contemplated relief fully into line with Frank II, Frank III,

and Luft.

       This Court previously enjoined defendants “from enforcing Wis. Stat. § 6.87(2) as to

absentee voters who have provided a written affirmation or other statement that they were unable

to safely obtain a witness certification despite reasonable efforts to do so, provided that the ballots


                                                  34
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 45 of 74




are otherwise valid.” ECF No. 170 at 52 (emphasis added). The Court added that “[n]o magic

words are required by a voter to successfully make this affirmation, and it will be left up to the

individual discretion of clerks as to whether to accept a voter’s excuse for not completing the

witness certification requirement based on the written affirmation by the individual voter.” Id. at

46. Though this part of the Court’s relief was stayed on appeal, the DNC/DPW believe that, with

very modest changes, the Court’s earlier idea can be tweaked so that it fully complies with Seventh

Circuit precedent, including Luft.

       A.      The controlling decisions require a generous safety net.

       The Supreme Court, Seventh Circuit, and Wisconsin district courts repeatedly have held

that, where individual voters cannot meet a voting requirement after “reasonable efforts,” they

must be given an alternative “safety net,” Frank II, 819 F.3d at 387, often in the form of requiring

some kind of statement under penalty of perjury together with the declarants’ contact information

so that state agents can follow up in the days after the election if there are any questions or

concerns. Frank II pointed favorably to Indiana’s affidavit option that was integral to Justice

Stevens’s controlling opinion in Crawford, which relied on the option of the voter “execut[ing] an

appropriate affidavit” in concluding that Indiana’s voter ID law did not “impose[] ‘excessively

burdensome requirements’ on any class of voters.” Crawford v. Marion Cty. Election Bd., 553

U.S. 181, 202 (2008); see Frank II, 819 F.3d at 387.12 The Seventh Circuit, sitting en banc,


       12
           Under the challenged Indiana provision, voters without sufficient ID could “cast
provisional ballots that will ultimately be counted,” provided they execute the appropriate affidavit
at the circuit court clerk’s office within 10 days. Crawford, 553 U.S. at 199. The relevant statute
provided: “The affidavit must state that (1) the person executing the affidavit is the same individual
who cast the provisional ballot on election day; and (2) the affiant is indigent and unable to obtain
proof of identification without paying a fee or has a religious objection to being photographed.
Ind.Code Ann. § 3–11.7–5–2.5(c). If the election board determines that the challenge to the affiant
was based solely on a failure to present photo identification, the “county election board shall ...
find that the voter’s provisional ballot is valid.” § 3–11.7–5–2.5(d).” Crawford, 553 U.S. at 199


                                                 35
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 46 of 74




embraced Frank II in its unanimous Frank III per curiam decision issued in late August 2016, ten

weeks before the November 2016 general election. Of all the Seventh Circuit decisions, Frank III

is the most significant because it represents the unanimous views of the full en banc court.13

        Frank III is significant in other respects. It emphasized that Judge Peterson “ha[d] the

authority to monitor compliance with [his] injunction” on voter ID and that “we trust that [he] will

do so conscientiously between now and the November 2016 election.” 835 F.3d at 652. Judge

Peterson did just that, requiring periodic status reports and issuing follow-up orders as necessary

when the State failed to live up to its many promises regarding the promised “safety net,” in that

case the IDPP.14 The en banc decision in Frank III also ordered the State to “adequately inform

the general public that those who enter the IDPP will promptly receive a credential for voting,

unless it is plain that they are not qualified.” Id. (emphasis added). Judge Peterson ultimately had

to issue follow-up orders enforcing that court-ordered public educational relief as well. This Court

has followed this same model of “monitor, report, and enforce” when necessary in the first

preliminary injunction round, and in requiring the WEC to submit its June 25 statement. See, e.g.,

ECF Nos. 37, 170-71, 179-80, 217.

        The unanimous en banc decision in Frank III also embraced Frank II’s core principle that

each citizen’s “personal” constitutional right to vote “‘is not defeated by the fact that 99% of other

people can secure the necessary credentials easily,’ and that the state may not frustrate this right




(Souter, J., dissenting).
        13
         The unanimous per curiam decision was joined by Chief Judge Wood and Circuit Judges
Posner, Flaum, Easterbrook, Kanne, Rovner, Williams, Sykes, and Hamilton. See 835 F.3d at 650.
        14
          See, e.g., One Wisconsin Institute, Inc. v. Thomsen, No. 15-cv-324-jdp, ECF Nos. 261,
293, 305. The parties filed various motions, reports, declarations, and other materials relating to
compliance with the Court’s injunctive orders from late September through the election, as shown
by a review of the ECF docket from that time.

                                                 36
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 47 of 74




for any eligible person by making it unreasonably difficult to obtain a qualifying photo ID.” 835

F.3d at 651 (emphasis added). The full Court upheld Judge Peterson’s determination that an

“affidavit” option is not the only way Wisconsin can provide the “necessary safety valve” for

Judge Easterbrook’s hypothetical 1% who cannot with “reasonable efforts” meet the requirements

that the other 99% of voters can meet with relative ease. Frank III, 835 F.3d at 651-52; One

Wisconsin Institute, Inc. v. Thomsen, 198 F. Supp. 3d 896, 910-17 (W.D. Wis. 2016), aff’d in part,

rev’d in part and remanded by Luft v. Evers, ___ F.3d ___, 2020 WL 3496860 (7th Cir. Jun. 29,

2020). Judge Peterson held that, at least in theory, the IDPP provides an adequate “constitutionally

required safety net” for the minority of voters who cannot with reasonable efforts meet all

generally applicable requirements for obtaining a required ID card, and the en banc Seventh Circuit

clearly endorsed that view as well. See, e.g., One Wisconsin, 198 F. Supp 3d at 913; Frank III, 835

F.3d at 651-52.

        Five features of the IDPP are particularly relevant to the design of the required “safety

net” here. First, there is an evidentiary presumption that voters claiming an exemption from

generally applicable proof requirements are who they say they are, and are entitled to vote, unless

and until the State demonstrates otherwise by a preponderance of the evidence. Luft, 2020 WL

3496860, at *10-11.

       Second, an IDPP applicant must submit a claim to an objectively reasonable exemption

and sign that claim under penalty of perjury. The IDPP is initiated through Wisconsin Form MV

3012, titled DMV Administrator Petition―Unavailable Documentation, which includes detailed

personal disclosures and a personal signature confirming that “[t]he information that I have

provided on this petition application is true under penalty of perjury and I am a resident of

Wisconsin. (s. 343.14(5) Wis. Stats.).” DNCFOF ¶ 211. And the claimed exemption must be more




                                                37
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 48 of 74




specific than the Judge Adelman-endorsed version that was excoriated in Luft.15

         Third, the IDPP applicant must provide “contact information” including telephone number

and email address, and is told that “Wisconsin DMV or Vital Records may contact you for any

follow-up information which may be necessary to complete the verification process.” DNCFOF

¶ 212.

         Fourth, the State has long contended, and the Seventh Circuit confirmed in its June 29 Luft

decision, that IDPP applicants must “comply with reasonable requests for information that is

material to voting eligibility.” 2020 WL 3496860, at *11.

         Fifth, Judge Peterson in One Wisconsin and the unanimous en banc Seventh Circuit in

Frank III both emphasized the need for a robust public education campaign managed by the GAB

(now WEC) “inform[ing] the general public that those who enter the IDPP will promptly receive

a credential for voting, unless readily available information shows that the petitioner is not a

qualified elector entitled to such a credential.” Frank III, 835 F.3d at 651. The en banc Court

emphasized it was denying petitions for initial hearing en banc on the express understanding that

“the State [will] adequately inform the general public that those who enter the IDPP will

promptly receive a credential for voting, unless it is plain that they are not qualified.” Id. at 652

(emphasis added). And far from wanting Judge Peterson to abstain in favor of state proceedings,




         15
           Luft characterized the affidavit approved by Judge Adelman as overbroad and vague,
and as preventing the voter from being questioned about it. “The injunction allowed a voter to
make his or her choice about how much effort was too much―some people might deem even one
trip to a governmental bureau excessive―and barred the state from contesting any person’s
conclusion.” Luft, 2020 WL 3496860, at *21. The affidavit even allowed the voter to check
“Other” as the reason he or she could not obtain a photo ID. See also Frank v. Walker, Nos. 16-
3003 & 16-3052, 2016 WL 4224616, at *1 (7th Cir. 2016) (entering initial stay of Judge Adelman’s
order “[b]ecause the district court has not attempted to distinguish genuine difficulties …, or any
other variety of substantial obstacle to voting, from any given voter’s unwillingness to make the
effort that the Supreme Court has held that a state can require”).

                                                 38
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 49 of 74




the full Seventh Circuit unanimously emphasized that “[t]he Western District has the authority to

monitor compliance with its injunction, and we trust that it will do so conscientiously between

now and the November 2016 election.” Id. (emphasis added). Judge Peterson vigorously

exercised this authority and responsibility in ensuring that the State complied with its IDPP

promises. His monitoring and enforcement tools included several additional orders, periodic

submission of joint status reports on how the IDPP injunctive relief was being implemented, and

requiring the repeated submission of sworn declarations by key GAB and DMV officials. See

supra n.16.

       These are the constitutional minimum requirements for the “safety net” required for Judge

Easterbrook’s hypothesized “1%” of voters who may face “high hurdles” in meeting proof

requirements that 99% of voters can meet with “reasonable effort.” Frank II, 819 F.3d at 386. The

“personal” right to vote “is not defeated by the fact that 99% of other people can secure the

necessary credentials easily.” Id. Far from excusing the State from having to adhere to these

individualized personal standards, Judge Easterbrook’s new panel decision in Luft reaffirms and

expands on his reasoning in Frank II, using as his illustration one of the plaintiffs in the One

Wisconsin litigation.

       Mr. Johnny Martin Randle, an African-American voter, was 75 years old at the time of

the May 2016 trial. He was born and spent his entire life in northeast Mississippi, but moved north

to live with his daughter in Milwaukee when he got older. He had been trying to obtain his

supposedly “free” voter ID since August 2015, but had been prevented from doing so for the sole

reason that his Mississippi birth certificate from July 1941 records his name as “Johnnie Marten

Randall.” Even though the DMV Administrator herself conceded Mr. Randle is a U.S. citizen who

was born in Mississippi on the date he said he was born, and even though there was abundant




                                                39
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 50 of 74




evidence confirming his identity, DMV refused to give him his requested voter ID because of the

errors in his birth certificate, unless he submitted a Common Law Name Change (CLNC) affidavit,

even though his name has never been changed—he has always lived his life as Johnny Martin

Randle. DNCFOF ¶ 213. Mr. Randle was far from the only voter who had been barred from voting

because of trivial and inconsequential errors in his vital records―usually African-American or

Latino “petitioners” being judged by white people. As of August 2016 about 2/3 of all Wisconsin

voters who were forced to resort to the IDPP to “petition” to exercise their right to vote were people

of color; of the petitions that were officially denied (like Mr. Randle’s), 85% were from voters of

color. One Wisconsin, 198 F. Supp. 3d at 922. This in a State that is about 6.2% African American

and 6.8% Latino. See 2020 Almanac of American Politics, supra n.5, at 1917. The One Wisconsin

trial record abounds with stories similar to Mr. Randle’s.

       Judge Peterson July 29, 2016 decision excoriated the State for its conduct of the IDPP,

pointing to Mr. Randle’s mistreatment and to many similar stories. The process was a voting rights

“disaster” and “a wretched failure.” One Wisconsin, 198 F. Supp. 3d at 903, 916. The IDPP (as

of May 2016) repeatedly had led to “real incidents of disenfranchisement” where the State

admitted it had no reason to doubt a voter’s qualifications but nevertheless denied the “petition”

for the credential required to vote. Id. at 903. Moreover, after studying hundreds of examples of

voters who had to navigate the IDPP’s overly bureaucratic rules, Judge Peterson emphasized that

“even voters who succeed in the IDPP manage to get an ID only after surmounting severe

burdens.” Id. The process (again, as of July 2016) was “complicated,” “arduous,”

“unnecessarily difficult,” and “imposes burdens that far exceed those contemplated in

Crawford or Frank.” Id. at 913, 916, 950.

       Judge Easterbrook’s Luft decision highlights Mr. Randle’s experience in explaining why




                                                 40
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 51 of 74




Judge Peterson should retain jurisdiction so that he can continue to monitor the State’s compliance

with its promises:

               Plaintiff Johnny Randle’s experience shows why [a promised safety net]
       may be hard to implement reliably. The name he used for more than seven decades
       differs from that of his birth certificate in spelling but not in pronunciation. After
       submitting his petition, Randle needed more than a dozen telephone calls, two in-
       person visits, and responses to multiple requests for information. The state
       demanded that he legally change his name and then declined to issue a voting
       credential because it asserted inability to verify his statement that he had done that
       already. The state asked him to sign a declaration that he had changed his name’s
       spelling at common law. It capped the five-month process by denying the petition
       when his agent did not produce a power of attorney.

               Wisconsin asserts that the procedures it has recently established would have
       short-circuited that process by allowing the employees who interviewed Randle to
       look up the records using his date of birth and his mother’s maiden name, conclude
       that he had innocently been using a variation on the original spelling, and issue a
       voting credential. Wisconsin recognizes name changes at common law as long as
       the usage is consistent, continuous, and non-fraudulent. State v. Hansford, 219 Wis.
       2d 226, 246–47 (1998). It asserts that the current version of its petition process,
       which it wants to implement, recognizes this and would simplify life for Randle
       and many others. Wisconsin allows common-law name changes for driver’s
       licenses and the like, and its new petition process requires the officials to accept a
       name change when an applicant submits a statement declaring the common-law
       elements as well as the prior name and its discontinuance. Wis. Stat. §343.50(3)(c);
       Wis. Admin. Reg. CR 16-040 §§ 1–3.

               We stressed in Frank III that appropriate treatment of the petition process
       depends on how it works. Although that process has been a moving target from
       Frank II until today, we do not blame the state for displaying flexibility. It has had
       to see what problems are easy to solve and which are tougher. The district court
       acted on a record assembled years ago. Instead of trying to evaluate the adequacy
       of a process that the state once championed, but now wants to change, the best
       approach is to let it try and see what happens. Adequacy cannot be evaluated in the
       abstract.

Luft, 2020 WL 3496860, at *10-11. Although the State’s interest in the “integrity and reliability

of the electoral process” is strong, Crawford, 553 U.S. at 204; Frank I, 768 F.3d at 755, Luft

emphasizes that “[e]very citizen’s interest in individual treatment also is strong. That’s the

holding of Frank II.” Luft, 2020 WL 3496860, at *11 (emphasis added).




                                                41
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 52 of 74




       B.      This Court should follow Frank III in crafting appropriate relief.

       Turning from Frank and Luft to this case, the Seventh Circuit stayed this Court’s injunctive

relief with respect to the witness-certification provision, concluding that (a) “the district court did

not give adequate consideration to the state’s interests in suspending this requirement”; (b) the

Purcell principle counseled against relief given that the election was only days away; and (c) the

“overbreadth of the district court’s order . . . categorically eliminates the witness requirement

applicable to absentee ballots.” DNC v. RNC, Nos. 20-1538 & 20-1546, at *3 (emphasis added).

The panel suggested the WEC’s “alternative suggestions” for fulfilling the witness requirement

(e.g., having the witness observe the voter over Skype, the voter mail the completed ballot to the

witness, and the witness sign and date the ballot) might be sufficient, especially given the extra

time that voters had to obtain a witness signature because of this Court’s extension of the ballot-

receipt deadline. Id. The Seventh Circuit also urged this Court to let the WEC try to fix the

problems first, before further judicial action.

       WEC’s proposed alternatives proved woefully insufficient. As described, approximately

11,944 returned ballots were rejected because of “insufficient” certification. DNCFOF ¶ 156.

Moreover, there are strong grounds to believe that many of the 135,417 unreturned ballots—over

10% of all ballots sent out—were not returned because the voters who had requested these ballots

were unable to navigate the witness requirements in the midst of the pandemic and resulting

isolation from others. Id. ¶ 157. Today’s combined submissions from the four plaintiffs’ groups

will put the individual stories of hundreds of Wisconsin citizens before this Court, many involving

the suppressive effects of Wisconsin’s witness-certification requirement during this pandemic,

especially for senior citizens and other high-risk groups. Where is their safety net?




                                                  42
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 53 of 74




       The DNC and DPW respectfully submit that, given the experiences in the April 7 election,

both this Court and the Seventh Circuit should reconsider their views on this issue. The Seventh

Circuit was concerned that this Court gave “no effect to the state’s substantial interest in

combatting voter fraud.” DNC v. RNC, Nos. 20-1538 & 20-1546, at *3. That criticism is not fairly

applied to this Court’s April 2 decision, which emphasized the general validity of the witness-

certification requirement; this Court was simply attempting to fashion, as best it could only days

before the primary, the “safety net” required by Frank II. The Frank decisions and Luft point the

way to how the Court can now design the safety net it envisioned that will satisfy the Seventh

Circuit’s concerns.

          The statement asserting an individual exemption from the witness-certification

           requirement must present an objectively reasonable explanation for why the voter needs

           the exemption, and must be signed by the voter under penalty of perjury. This was one

           flaw in the “other written statement”/”no magic words” relief this Court fashioned in

           its April 2 injunction. This is not meant as a criticism; the Court had no time to design

           a form or have it printed and distributed. Now there is time.

          The statement must provide best-available contact information so that local election

           officials can quickly contact the voter to investigate any questions or concerns, either

           during the post-election tabulations and canvass or thereafter.

          The voter must cooperate with any inquiries by local election officials―Judge

           Easterbrook was emphatic about that in the just-released Luft decision. Id. at *11.

          The State, in turn, must engage in a genuine public educational campaign to inform

           the public at large as well as targeted at-risk populations about the “safety net”

           available for registration and voting and what voters need to do to take advantage of



                                                43
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 54 of 74




            it.

With these modifications, the Court can provide appropriate relief from the occasionally onerous

witness-certification requirement for those who need it, while protecting against potential voter

fraud and meticulously tracking the “safety net” requirements spelled out in Frank II, Frank III,

and Luft.

       Although courts in recent months have disagreed on the issue, a growing number have

modified witness signature and identity requirements for the duration of the pandemic. The

Eleventh Circuit’s recent decision in People First of Alabama v. Sec’y of State of Alabama, No.

20-12184, 2020 WL 3478093 (11th Cir. Jun. 25, 2020) (unpublished), stayed, No. 19A1063, 2020

WL 3604049 (U.S. July 2, 2020), is closely on point. There, the District Court for the Northern

District of Alabama entered “a narrow injunction” applying only to “high-risk voters”―those (a)

age 65 or older, (b) with a disability, or (c) who “suffer[] from an underlying medical condition

that the CDC has determined places individuals at a substantially higher risk of developing severe

cases or dying of COVID-19”―allowing these voters an exemption from Alabama’s witness-

certification and photo ID requirements if they submit a written statement signed under penalty of

perjury that it is “impossible or unreasonable to safely satisfy” those requirements. 2020 WL

3478093, at *3. Two Eleventh Circuit judges, concurring in the panel’s stay of the district court

injunction, rejected the State’s argument that compliance required just a “little bit of work”:

       Appellants argue that the photo ID and witness requirements impose only a “little
       bit of work” on Alabamian voters. That misperceives the burden. The burden here
       is not the finding of two people or a notary to witness a signature or the finding of
       a location to copy one’s photo ID. Instead, the burden is tied to the fact that
       Plaintiffs and those similarly situated must risk death or severe illness to fulfill
       Alabama’s absentee voter requirements and, therefore, to exercise their right to
       vote. Despite Appellants’ insinuations, that risk isn’t comparable to the normal risk
       faced “when we leave home.” Sure, anyone may risk getting hit by a bus on the
       way to a polling station. But that doesn’t mean we set up polling stations in the
       middle of the street. Appellants’ failure to acknowledge the significant difference


                                                 44
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 55 of 74




       between leaving one’s home to vote in non-pandemic times and forcing high-risk
       COVID-19 individuals to breach social-distancing and self-isolation protocols so
       they can vote reflects a serious lack of understanding of or disregard for the science
       and facts involved here.

2020 WL 3478093, at *7 (emphasis added). While acknowledging that “‘combatting voter fraud’

is certainly a legitimate interest,” the panel majority concluded that interest could be adequately

served by requiring voters to submit statements under penalty of perjury, given the “potential life-

or-death burden placed on high-risk Alabamian voters.” Id. The judges also noted that Alabama

already has granted exceptions from the photo ID requirement for some voters―those over 65 or

with physical disabilities that deter them from going to the polls―and concluded there was “no

reason” under the Anderson-Burdick analysis to withhold a similar exemption for “voters who are

at a high-risk of contracting a severe or deadly cases of COVID-19.” Id. The Eleventh Circuit

decision in People First has been stayed, No. 19A1063, 2020 WL 3604049, but continues to

provide useful guidance. Many other federal and state courts have enjoined the enforcement of

various deadlines and proof requirements that, while permissible in normal times, must yield to

right to vote in the midst of a global pandemic that threatens voters’ lives and threatens to prevent

them from registering and casting their ballots.16


       16
           See, e.g., League of Women Voters of Va. v. Va. State Bd. of Elections, No. 6:20-CV-
00024, 2020 WL 2158249 (W.D. Va. May 5, 2020) (“In ordinary times, Virginia’s witness
signature requirement [for absentee ballots] may not be a significant burden on the right to vote.
But these are not ordinary times . . . . Notwithstanding the proffered steps which could be taken to
mitigate the risks to health in having somebody witness one’s absentee ballot, many would be
dissuaded from exercising their vote both on account of the remaining health risks and required
steps to mitigate them―again, especially those who are elderly, immunocompromised, or
otherwise at grave risk from the virus.”); Libertarian Party of Ill. v. Pritzker, No. 20-cv-2112,
2020 WL 1951687 (N.D. Ill. Apr. 23, 2020) (applying Anderson-Burdick balancing in light of the
pandemic, and alleviating Illinois signature and witnessing requirements for minor party
candidates seeking to run for state or federal office), stay denied pending appeal, No. 20-1961
(7th Cir. June 21, 2020); Thomas v. Andino, Nos. 3:20-cv-01552-JMC, 2020 WL 2617329, at *39
(D.S.C. May 25, 2020) (“strong likelihood that the burdens placed upon [plaintiffs] by the” witness
signature requirement “outweigh the imprecise, and (as admitted by SCEC Defendants)


                                                 45
       Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 56 of 74




III.    This Court should partially enjoin the ID and proof-of-residency requirements as
        applied to those who attest under penalty of perjury that they cannot meet those
        requirements after reasonable efforts.

        This Court previously denied relief on the photo ID requirement (without prejudice)

because it was “satisfied that the current proof of ID requirement, as being applied under the WEC

guidance and state court order, does not impose an undue burden on the right to vote.” ECF No.

170 at 49. The WEC guidance pertained to voters claiming “indefinitely confined status” under

Wis. Stat. §§ 6.86(2)(a) and 6.87(4)(b)(2), and the reference to state court was to the Wisconsin

Supreme Court’s order in Jefferson v. Dane County, 2020AP557-OA, which endorsed and adopted

the WEC’s “guidance” on such status. This Court denied injunctive relief on the proof-of-

residency requirement as “moot” because it was already April 2 and “voters are no longer able to



ineffective, state interests of combating voter fraud and protecting voting integrity”); Esshaki v.
Whitmer, No. 20-1336, 2020 WL 2185553, at *1 (6th Cir. May 5, 2020) (affirming district court’s
conclusion that Michigan’s enforcement of signature requirement for candidates was “not
narrowly tailored to the present circumstances” involving the pandemic); Goldstein v. Sec’y of the
Commonwealth, 484 Mass. 516, 571 (2020) (acknowledging that minimum-signature
requirements “impose a severe burden on, or significant interference with, a candidate’s right to
gain access” to the ballot in light of pandemic); Faulkner for Va. v. Va. Dept of Elections, No. CL-
20-1456 (Va. Cir. Ct. Mar. 25, 2020) (applying strict scrutiny to decrease signature requirements
for candidates to appear on ballot because of COVID-19, applying strict scrutiny); Reclaim Idaho
v. Denney, No. 1:20-CV-00268-BLW, 2020 WL 3490216, at *11 (D. Idaho June 26, 2020) (State
could either give plaintiff 48 additional days to collect online⸺instead of physical⸺signatures or
put initiative on November 2020 ballot with current number of signatures); Miller v. Thurston, No.
5:20-cv-05070 (W.D. Ark. May 25, 2020) (petitioner need not sign an initiative petition in the
presence of a canvasser and canvasser need not sign and swear in the presence of a notary to his
or her affidavit attesting to the genuine and compliant nature of the signatures on his or her
initiative petition), administratively stayed, No. 20-2095 (8th Cir. June 15, 2020); Moreno v.
Denney, No. 1:20-cv-00242 (D. Idaho May 23, 2020) (extending deadline to request absentee
ballot by a week from May 19 to 26); Fair and Equal Mich. v. Benson, No. 20-000095-MM (Mich.
Ct. Claims June 10, 2020) (extending deadline for validity of signatures to get initiative on ballot);
In re: Extension of time for Absentee and Mail-in Ballots, No. 2020-02322-37, slip op. at 2 (Penn.
Ct. Common Pleas, Bucks Cty. June 2, 2020) (extending deadline to accept ballots seven days
after June 2, 2020 primary); In re: Extension of time for Absentee and Mail-in Ballots, No. 2020-
003416 (Penn. Ct. Common Pleas, Delaware Cty. June 2, 2020) (extending deadline by ten days
to accept ballots for voters who did not have mail-in or absentee ballots on morning of election
day).

                                                 46
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 57 of 74




register by-mail for the upcoming election.” ECF No. 170 at 50.

       The DNC/DPW appreciate the Court’s recent admonition that, “[a]bsent some

extraordinary showing as to the impact of the current health crisis on those statutory provisions,

this court is unlikely to overturn those decisions.” ECF No. 217 at 13. Again, we understand that

the Court cannot “overturn” those decisions, but it can ensure there is a genuine “safety net” that

those decisions all promise. Moreover, the impacts are “extraordinary,” at least with respect to

the minority of eligible voters who face “high hurdles” in complying with otherwise-reasonable

requirements that 99% of voters can comply with. Frank II, 819 F.3d at 387. We are not asking

the Court to “overturn” any decisions, simply to follow the logic of Frank II as it did before. There

is no principled reason for saying that some identification and proof requirements must have a

“safety net,” while allowing similar requirements to be enforced rigidly with an iron fist and no

exceptions allowed, notwithstanding each person’s constitutional right to “individual treatment”

and “accommodation that will permit him or her to cast a ballot.” Luft, 2020 WL 3496860, at **9,

11 (quotations and citations omitted).

       The same analysis discussed in Part II in connection with the witness-certification

requirement also compels an exception to the photo ID and proof-of-residence requirements,

provided the voter is willing to claim an exemption subject to the same requirements discussed

above―a signature under penalty of perjury claiming entitlement to a well-defined exemption,

specific standards, suitable contact information, and cooperation with local election officials. No

more may constitutionally be required, especially in a time of pandemic.

       Despite the Court’s hopes, the on-the-ground reality proved that the “indefinitely confined”

option did not provide the sort of safety net required under Frank II, Frank III, and Luft. The May

11 Wisconsin Election Protection 2020 Spring Election Report―an investigation conducted by




                                                 47
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 58 of 74




“non-partisan observers”―found that “Confusion about ‘Indefinitely Confined’ Voters” had been

a rampant problem in the weeks leading up to the April 7 election. The Report explained:

       The Wisconsin Elections Commission defines an indefinitely confined voter as a
       voter who has “a difficult time getting to the polls due to age, illness, infirmity, or
       disability.” As a result of the global pandemic, an increased number of voters
       clearly qualified under this definition.

       However, few voters are aware of this provision, and there has not been an
       adequate, broad public education campaign by elections officials to raise awareness
       about it. Instead, to the extent voters learned about this exception at all it was in a
       piecemeal way, and the onus was on voters to seek out the information. Groups like
       LWVWI also attempted to share the information with a larger audience using the
       language approved by the WEC and sharing it publicly on their website and social
       media channels. Compounding the problem, days before the absentee ballot request
       deadline, the Wisconsin Supreme Court blocked the Dane County Clerk “from
       telling large groups of voters they could request absentee ballots without showing
       a photo ID because of the coronavirus pandemic.” These responses further confused
       voters about their rights and the process to request an absentee ballot as indefinitely
       confined, and may have caused some voters who qualified as such to be reluctant
       to use it for fear of potential punishment.

Umberger Decl., Ex. 59; DNCFOF ¶ 214. The record includes similar evidence of the uneven,

confusing, and inadequate use of this option, the supposed “safety net” for the ID requirement in

this time of pandemic. See DNCFOF ¶¶ 165-73.

       As discussed above, this key regulatory term, supposedly providing the required safety net

for the ID law, gets no mention in the June 25 WEC Defendants’ Status Report. And the

“indefinitely confined” option gets only passing fine-print mention in the instructions given to

voters requesting an absentee ballot and in the WEC’s planned mailer to certain voters. Voters are

not told in any of these materials that, according to the WEC and the Wisconsin Supreme Court,

designation of indefinitely confined status is for each individual voter to make based on how they

feel about their own current circumstances. Nor are they told that, according to the State,

“indefinitely confined” status “does not require permanent or total inability to travel outside of the

residence.” Jefferson, No. 2020AP557-OA, at *2 (emphasis added). The WEC and Wisconsin


                                                 48
      Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 59 of 74




Supreme Court “guidance,” such as it is, shows that “indefinitely confined” is not a self-defining

term, and in the absence of explicit, prominent instructions on the absentee ballot request form, on

the WEC’s website and in other informational materials, voters are likely to misunderstand the

scope of their entitlement to claim this status and, if they are otherwise unable to copy or upload

an acceptable photo ID, may forego attempting to obtain an absentee ballot.

       Thus, at a minimum, this Court should hold that materials for requesting absentee ballots,

instructions for completing those ballots, and the WEC’s own public education program must

explicitly and prominently explain a voter’s option to claim “indefinitely confined” status during

the COVID-19 pandemic, including the WEC and Wisconsin Supreme Court explanations of what

that term means.

IV.    This Court should order defendants to take further steps to ensure all Wisconsin
       voters have access to safe and secure in-person voting opportunities.

       The April 7 election demonstrated the dire need for further planning, resources, and

leadership to ensure that Wisconsin voters are not once again left with no options for safe and

secure in-person early voting and in-person voting at the polls on election day. For those like the

intervening defendants who argue that in-person election-day voting is a safe and easy alternative

to absentee voting, the April 7 experience teaches that in-person voting cannot provide such an

alternative when the early-voting sites are closed, election-day polling sites are drastically

consolidated, and voters who show up are too often forced to stand in long lines for hours in the

midst of a pandemic. This was “[o]ne of the most shameful chapters” in American’s voting-rights

history, requiring voters “to make an unconscionable choice between their lives and their

citizenship,” and it cannot be allowed to happen again.17


       17
             Sherrilyn Ifill, Never Forget Wisconsin, Slate (Apr. 8, 2020, 6:46 PM),
https://slate.com/news-and-politics/2020/04/never-forget-wisconsin.html.


                                                49
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 60 of 74




        The Swenson plaintiffs have done a comprehensive job in demonstrating the many ways

this can be done. They have presented, among many other things, the expert views of Kevin J.

Kennedy, who served as Wisconsin’s Chief Election Officer for more than 33 years, and who

knows as well as anyone how the voting process works at the polls and early-voting locations

throughout the State. Mr. Kennedy presents numerous recommendations for what the WEC can

and should be doing as the agency responsible for the administration and oversight of the State’s

election system. These include setting standards and monitoring compliance with COVID-19

social distancing guidelines and appropriate sanitization; working with local officials to implement

a statewide policy for providing and staffing alternative polling places; developing and

implementing a statewide policy for expanding the use of drive-through and curbside voting, early

in-person voting at alternative sites, and other measures for in-person voting designed to prevent

the spread of the virus, protect voters with disabilities or who are at high risk from COVID-19 who

must vote in person (e.g., those whose requested absentee ballots never arrived), and reduce

crowding and long lines at the usual polling sites. See generally Kennedy Rpt.

        DNC/DPW will not repeat the Swenson plaintiffs’ or Mr. Kennedy’s demonstration of how

these goals can be met and what the WEC can and should be doing to make them happen. We do,

however, respond briefly to the Court’s jurisdictional concerns expressed during the June 29 status

conference and to the intervening defendants’ claims that DNC/DPW are suing the wrong

defendants, and instead should be seeking direct relief from local election officials in 1,852

different local jurisdictions.

        A suit against nearly 2,000 election officials would be chaotic, and, of course, unnecessary.

DNC and DPW are seeking statewide standards and statewide relief. As this Court has observed,

the WEC is the “governmental body charged by law with administering” Wisconsin’s election




                                                 50
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 61 of 74




laws (other than with respect to campaign finance). ECF No. 85 at 7. In fact, the Legislature has

granted to WEC “the responsibility for the administration of chs. 5 to 10 and 12 and other laws

relating to elections and election campaigns, other than laws relating to campaign financing.” Wis.

Stat. § 5.05(1) (emphasis added); see also Wisconsin Right to Life, Inc. v. Barland, 751 F.3d 804,

842 (7th Cir. 2014) (WEC’s predecessor had “the authority to implement” election laws). Under

this broad grant of authority, the WEC may “[p]romulgate rules . . . applicable to all jurisdictions

for the purpose of interpreting or implementing laws regulating the conduct of elections or election

campaigns . . . or ensuring their proper administration.” Wis. Stat. § 5.05(1)(f) (emphasis added).

The WEC’s statutory “responsibility” for election “administration” includes many other oversight,

planning, guidance, and other administrative tools for “administering” Wisconsin’s election

system.18

       As part of its general duty to “implement” and “administer” Wisconsin’s election laws, the

WEC also “may direct municipal clerks to implement a court order pertaining to the state’s election




       18
           See, e.g., Wis. Stat. § 5.05(e) (approve electronic data recording system and order
exemptions for polling places’ accessibility requirements); id. § 5.05(f) (promulgate rules
applicable to all jurisdiction to implement election laws); id. § 5.05(2m)(a) (initiate investigations
of violations of election laws); id. § 5.05(2m)(f) (require any person to submit reports relevant to
commission’s investigatory powers and order testimony to be taken under commission’s
investigatory powers); id. § 5.05(5e) (reporting obligation); id. § 5.05(6a) (issue advisory
opinions); id. § 5.05(7) (conduct informational and training meetings); id. § 5.05(11) (adopt plan
to “enable participation . . . in federal financial assistance programs” and provide financial
assistance to counties and municipalities for election administration costs); id. § 5.05(12) (conduct
voter education); id. § 5.05(14) (request information from local election officials relating to
election administration); id. § 5.05(15) (design and maintain registration list and require all
municipalities to use it); id. § 6.30(4) (prescribe voter-registration form); id. § 6.30(5) (maintain
electronic voter-registration system); id. § 7.08(3) (prepare and publish election law manual); id.
§ 7.08(6) (audit performance of voting systems and, if necessary, take remedial action and order
remedial action); id. § 7.31(1)-(5) (establish qualifications for chief inspectors, training
requirements, and oversee chief inspector renewal); id. § 8.12(2) (design official ballots); id. §
9.01(ar)(3) (order recount). This is just a sample of WEC’s duties.


                                                 51
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 62 of 74




procedures and federal law.” Frank v. Walker, 196 F. Supp. 3d 893, 918-19 (E.D. Wis. 2016), aff’d

in part and rev’d on other grounds 2020 WL 3496860 (7th Cir. June 29, 2020). Judge Adelman’s

analysis of this issue is both comprehensive and correct. Although the Seventh Circuit rejected

Judge Adelman’s required remedy―in that case, an open-ended affidavit of exemption discussed

above in Part II―it did not question his jurisdiction to order such relief or the WEC’s authority to

implement it. 2020 WL 3496860, at *10-11. And the Seventh Circuit has upheld Judge Peterson’s

continuing supervisory authority over state officials for the statewide administration of the voter

ID laws. See Frank III, 835 F.3d at 651-52 (en banc); Luft, 2020 WL 3496860, at *11. Judge

Adelman’s analysis was comprehensive and cogent:

       State law vests the commission with “the responsibility for the administration of
       [the Wisconsin Statutes governing elections] and other laws relating to
       elections.” Wis. Stat. § 5.05(1). Carrying out a federal court’s order concerning the
       state’s election procedures would qualify as administering the state’s election laws
       and “other laws relating to elections” (which includes federal laws relating to
       elections). Municipal clerks, who lack the power to administer election laws but
       only have the power to conduct elections in accordance with those laws, see Wis.
       Stat. § 7.15(1), could not disobey the commission’s directive to make affidavits
       available to voters and to accept them in lieu of photo ID. The administrator of the
       Elections Commission points out that the commission might not have authority
       under state law to pass a formal administrative rule implementing the affidavit
       requirement. Haas Decl. ¶¶ 15–17. However, such a rule is unnecessary. Although
       the commission has rulemaking authority, see Wis. Stat. § 5.05(1)(f), that is just
       one manifestation of its general authority to administer election laws. Pursuant to
       its general authority, the commission may direct municipal clerks to implement a
       court order pertaining to the state’s election procedures and federal law.

       I also note that the defendants had no difficulty implementing the injunctive
       relief that I granted in 2014. If the defendants were able to direct municipal clerks
       to stop requiring voters to present photo ID at the polls in 2014, then they will be
       able to direct municipal clerks to allow voters to cast a ballot by presenting an
       affidavit in lieu of photo ID in 2016. Accordingly, I reject the defendants'
       suggestion that uncertainty over whether they have power to require municipal
       clerks to implement an affidavit remedy is a reason not to grant that remedy in the
       first place.




                                                52
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 63 of 74




       This analysis is spot on. True, Wisconsin has delegated its authority to “establish[]” polling

places and “conduct” elections to local governing bodies, Wis. Stat. §§ 5.25(2), 7.15(1), but the

State cannot delegate its duty to ensure safe and sufficient in-person registration and voting

facilities for all voters throughout the State. The defendants bear the statutory “responsibility for

the administration of” Wisconsin’s election laws, Wis. Stat. § 5.05(1), which at minimum requires

defendants to develop and implement plans to coordinate available state, local, and private

resources to ensure that all voters throughout the State are able to cast early in-person absentee

votes and to vote in-person on election day in as safe and secure a manner as feasible. The WEC,

for example, may set the baseline number of voting locations, Wis. Stat. § 5.25(2), as well as the

minimum safety and public health standards that apply to those voting locations to ensure they do

not become Petri dishes for COVID-19. See Kennedy Rpt. ¶ 65.

       It is not for this Court to set the actual number of polling sites or prescribe all the standards

in detail. That is the WEC’s “responsibility,” and this Court should order WEC to exercise that

authority, subject to this Court’s ongoing jurisdiction to require the WEC to report back on its

compliance with the Court’s orders. Although DNC/DPW do not necessarily agree with all of Mr.

Kennedy’s recommendations, they provide the necessary starting point for matters to address in

the Court’s order, standards and procedures the WEC needs to address, and what the WEC should

address in future reports to the Court. As for this Court’s exercise of its continuing jurisdiction, we

respectfully submit that Judge Peterson’s approach in the fall election of 2016, discussed in Part

II above, provides an excellent model for this Court to follow, as do this Court’s own orders leading

up to the April 7 election.

V.     The challenged provisions violate federal due process guarantees.

       The Gear and Swenson plaintiffs have done a comprehensive job in presenting the




                                                  53
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 64 of 74




procedural due process objections raised in all four of the pending consolidated actions.

DNC/DPW will not add to those comprehensive arguments, but will respond to this Court’s

statement in its June 10 Opinion and Order that, “despite the Mathews and Anderson-Burdick tests

involving a similar balancing analysis, plaintiffs do not explain how, if at all, their separate

procedural due process claim is distinguished from their undue burden claim.” ECF No. 217 at 14.

The Court cautioned that, “unless plaintiffs [DNC and DPW] are able to articulate a specific legal

or factual rationale for applying the Mathews test over the Anderson-Burdick test in evaluating a

challenged provision,” the Court would focus on the Anderson-Burdick claim. Id. at 15.

       The DNC/DPW understand the Court’s concerns and questions. The short answer is that

we have not yet found a decision in which a court accepted an Anderson-Burdick claim while

rejecting a due process challenge to the same provision; or rejected an Anderson-Burdick challenge

while striking down the same provision as violating due process. The Anderson-Burdick and

Mathews v. Eldridge analyses are both multi-factor balancing inquiries, some of the relevant

factors will often overlap, and the results of the inquiries may often be the same. But the focus of

the two analyses differs. Anderson-Burdick balances burdens on voting rights against states’

justifications, while due process claims focus on the sufficiency of the process involved before the

State deprives someone of their right to vote. Under the Anderson-Burdick framework, courts

assess the burdens on the right to vote against the state’s justifications for those burdens. The more

severe a burden, the more compelling a justification must be. Severe burdens on voting rights

“must be narrowly drawn to advance a state interest of compelling importance.” Burdick v.

Takushi, 504 U.S. 428, 434 (1992) (citation omitted).

       The gravamen of a procedural due process claim, on the other hand, concerns whether a

voter has obtained enough process to justify a deprivation of a right. “In procedural due process




                                                 54
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 65 of 74




claims, the deprivation by state action of a constitutionally protected interest in ‘life, liberty, or

property’ is not in itself unconstitutional; what is unconstitutional is the deprivation of such an

interest without due process of law.” Zinermon v. Burch, 494 U.S. 113, 125 (1990) (citations

omitted) (emphasis in original). An appropriate remedy orders more process if a court determines

the existing procedures are inadequate or absent. Id. at 126 (“[I]t is necessary to ask what process

the State provided, and whether it was constitutionally adequate.”).

       The Anderson-Burdick and due process analyses are like looking at the same object through

different lenses. Sometimes a procedural due process analysis may help show systemic flaws that

would not necessarily jump out under an Anderson-Burdick analysis. For example, due process

post-deprivation cases are especially instructive here with respect to whether local election

officials must contact voters about ballot problems and, if possible, give them opportunities to cure

any problems before final rejection of the ballots.19 To the extent this principle governs Anderson-

Burdick claims as well, that would be wonderful. But to reach the right Anderson-Burdick result it

sometimes is necessary to use a due process lens (likewise with an equal protection lens), and to

acknowledge that due process helps point to the right result. That is hardly “redundant.”

       Moreover, the assertion in Luft that rules challenged under Anderson-Burdick must be

judged “by looking at the whole electoral system,” 2020 WL 3496860, at *3, seems out of step

with the emphasis of due process on every individual’s liberty interest in fair voting. It is helpful




       19
           See, e.g., Saucedo v. Gardner, 335 F. Supp. 3d 202, 222 (D.N.H. 2018) (enjoining law
requiring rejection of ballots due to signature mismatch without giving voters opportunity to cure);
Fla. Democratic Party v. Detzner, 4:16cv607-MW/CAS, 2016 WL 6090943, at *9 (N.D. Fla. Oct.
16, 2016) (same); Zessar v. Helander, 2006 WL 642646, at *9 (N.D. Ill. Mar. 13, 2006) (“Once
rejected, the ballot cannot be rehabilitated and cast after a post-deprivation hearing.”); see also id.
(“It is apparent that the risk of erroneous deprivation of the protected interest in absentee voting is
not enormous, but the probable value of an additional procedure is likewise great in that it serves
to protect the fundamental right to vote.”).

                                                  55
      Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 66 of 74




to have the due process issues front and center at all times: Are voters receiving adequate notice

of election procedures? Is the State explaining ambiguous terms (“indefinitely confined”) and

clearly spelling out the availability of “safety nets” to be sure that all voters may vote with only

reasonable effort? And is the election system providing sufficient process following the election

regarding suspected ballot errors and omissions? DNC and DPW therefore respectfully urge the

Court to use both an Anderson-Burdick and a due process analysis, if only to confirm that the two

analyses both lead to the right result.

VI.    The challenged provisions violate equal protection guarantees.

       “Having once granted the right to vote on equal terms, the State may not, by later arbitrary

and disparate treatment, value one person’s vote over that of another.” Bush v. Gore, 531 U.S. 98,

104-05 (2000). Among other things, this requires “specific rules designed to ensure uniform

treatment” in order to prevent “arbitrary and disparate treatment to voters” based on which county

or local jurisdiction they live in. Id. at 106-07. There is no “emergency exemption” from this equal

protection requirement. “The press of time does not diminish the constitutional concern. A desire

for speed is not a general excuse for ignoring equal protection guarantees.” Id. at 108-09; see also

id. at 109 (shutting down the 2000 Florida recount because the recount process was “inconsistent

with the minimum procedures necessary to protect the fundamental right of each voter”).

       The Legislature has argued that these equal protection principles apply only to “the one

election” involved in Bush v. Gore. ECF No. 142 at 32 (quotation marks and citation omitted).

That’s nonsense. Courts repeatedly have relied on the equal protection principles enunciated in

Bush v. Gore in a variety of election law circumstances. See, e.g., Raleigh Wake Citizens Ass’n v.

Wake Cty. Bd. of Elections, 827 F.3d 333, 337 (4th Cir. 2016) (redistricting); Obama for Am. v.

Husted, 697 F.3d 423, 428–29 (6th Cir. 2012) (restrictions on early voting); Idaho Coal. United




                                                56
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 67 of 74




for Bears v. Cenarrusa, 342 F.3d 1073, 1077 & n.7 (9th Cir. 2003) (ballot-initiative process); Fla.

State Conference of N.A.A.C.P. v. Browning, 522 F.3d 1153, 1185–86 (11th Cir. 2008) (Barkett,

J., concurring in part) (voter registration).

        Wisconsin’s April 7 election abounded with many examples of unfair, unequal, and

disparate treatment of Wisconsin voters depending on where they live. Safe and sufficient in-

person registration, absentee voting, and election-day voting opportunities were available to some

Wisconsin voters but not to others, depending on where they resided. DNCFOF ¶¶ 52-66; see also

ECF Nos. 63-10, 63-12, 63-14; Exs. 10, 12, 14; ECF No. 39 at 2 (identifying closure of some, but

not all polling places). Voters of color and the urban poor were disproportionately denied sufficient

opportunities for safe in-person registration, early voting, and election-day voting. Id. ¶¶ 5, 16.

Similarly, the application of the documentation requirements for registering to vote and requesting

an absentee ballot varied broadly across cities and counties, resulting in some voters being subject

to these requirements while others were not. See, e.g., id. ¶¶ 71-72, 171-72. Voters also received

conflicting guidance on the witness requirement for absentee ballots depending on where they

lived and who they called. See, e.g., id. ¶¶ 155-71; ECF No. 63-16 at 6 (quoting Madison officials).

Many voters, particularly those who live alone, lacked access to a witness but were simultaneously

being instructed by the authorities to stay at home and practice social distancing. DNCFOF ¶¶ 150-

51, 153-61; see also ECF No. 66 ¶ 3; ECF No. 70 ¶ 3; ECF No. 75 ¶ 4.

        Another example of disparate and non-uniform treatment involved the interpretation and

administration of the U.S. Supreme Court’s requirement that an absentee ballot be “postmarked

by election day” in order to be counted. RNC, 140 S. Ct. at 1208. Wisconsin elections officials and

the Postal Service do not follow uniform standards and procedures in postmarking absentee ballots.

As a result, many absentee ballots were returned to local election officials by the Postal Service




                                                 57
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 68 of 74




with either no postmarks at all, postmarks without dates, or illegible postmarks. The six

Commissioners of the WEC, on a 3-3 tie vote, largely failed to agree on how election officials

should address these issues, leaving local election officials throughout Wisconsin to make these

decisions without any uniform standards ensuring consistent treatment throughout the State, rather

than through discretion exercised locality by locality. DNCFOF ¶ 215.

       A further example of “arbitrary and disparate treatment [of] voters,” Bush, 531 U.S. at 104-

05, is the interpretation adopted by the WEC and the Wisconsin Supreme Court of Wis. Stat. §§

6.86(2)(a) and 6.87(4)(b)(2), which exempt voters who are “indefinitely confined because of age,

physical illness or infirmity” from many of the absentee voting restrictions and conditions. As

discussed above, in response to conflicting advice from county and local election officials about

what it takes to be “indefinitely confined” by the pandemic within the meaning of these statutes,

the Wisconsin Supreme Court, in an original action, adopted the WEC’s guidance that the

“[d]esignation of indefinitely confined status is for each individual voter to make based upon their

current circumstances. It does not require permanent or total inability to travel outside of the

residence.” Jefferson, No. 2020AP557-OA, at *2 (emphasis added). This “guidance” in no way

provides “uniform” rather than “arbitrary and disparate treatment to voters.” Bush, 531 U.S. at

106-07. If using a standard that “might vary . . . from county to county” or “within a single county”

violates equal protection, id. at 106, so much more the case where the interpretation and application

of the standard varies from voter to voter. The record amply demonstrates the confusing and

“piecemeal way” in which this exemption was administered. Wisconsin Election Protection, 2020

Spring Election Report at 9-10 (Ex. 59); DNCFOF ¶¶ 165-73, 207-09, 214.

       In these and other respects, if this Court does not require “uniform rules” and “specific

standards” in conducting the November 3 general election under pandemic conditions, there will




                                                 58
       Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 69 of 74




be an unacceptably high risk that Wisconsin will not satisfy “the minimum requirement for

nonarbitrary treatment of voters necessary to secure the fundamental right” to vote. Bush, 531 U.S.

at 105-06. If anything, the equal protection risks are even greater here than in Bush v. Gore. There,

the right to vote was at risk. Here, the risks are to the right to vote and to the right to life⸺our own

and the lives of others.

VII.    Plaintiffs meet all other requirements for their requested preliminary injunctive
        relief.

        All the other requirements for granting injunctive relief are, once again, readily satisfied.

This Court repeatedly has emphasized that “infringement on the fundamental right to vote

constitutes irreparable injury,” one for which “traditional legal remedies would be inadequate.”

ECF No. 37 at 18; see ECF No. 170 at 24-25 (citations omitted). Moreover, the public has a “strong

interest in exercising the ‘fundamental political right’ to vote.” Purcell v. Gonzalez, 549 U.S. 1, 4

(2006). Because “[t]he public interest … favors permitting as many qualified voters to vote as

possible,” that interest is “best served by favoring enfranchisement and ensuring that qualified

voters’ exercise of their right to vote is successful.” Obama for Am., 697 F.3d at 436-37 (citation

omitted). These considerations are further magnified because of the imminent dangers to public

health during the pandemic. “[T]he denial of injunctive relief after a district court has found a risk

of imminent and substantial danger to public health … should be rare.” LAJIM, LLC v. Gen. Elec.

Co., 917 F.3d 933, 942 (7th Cir. 2019).

        This Court also has twice found that the balance of the equities favors the DNC and DPW,

and it should so find again. ECF No. 37 at 19-20; ECF No. 170 at 25-28. The requested injunctive

relief would protect public health and remove barriers to voting during an unprecedented global

pandemic. On the other hand, the requested relief would cause some increased administrative

burdens for the State and local election jurisdictions. But as the DNC/DPW have shown above,


                                                  59
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 70 of 74




those potential burdens can be minimized through appropriately crafted relief. Any remaining

burdens are outweighed by the vindication of constitutional rights. See Taylor v. Louisiana., 419

U.S. 522, 535 (1975) (“administrative convenience” cannot justify practices impinging on

fundamental rights).20

       As for the requested extension of the November 3 election-day receipt deadline, Wisconsin

law gives counties until November 10 to begin their canvasses, and until November 17 to complete

them. The State itself need not complete its canvass until December 1. Wis. Stat. § 7.70(3)(a).

Accordingly, there would be ample time to extend the ballot-receipt deadline by up to ten days so

that late-arriving absentee ballots may be counted. The experience of the April 7 election proves

that such an extension can be carried out with a minimum of administrative inconvenience while

avoiding the disenfranchisement of tens if not hundreds of thousands of voters. The WEC

acknowledged in its Rule 30(b)(6) deposition that the administrative burdens caused by this

Court’s prior deadline extensions were modest and manageable. DNCFOF ¶¶ 194-95. There is no

reason to expect a difference now.



       20
           See also, e.g., Ga. Coal. for People’s Agenda, Inc., 347 F. Supp. 3d at 1268 (increased
administrative burden of “disseminating information” and “training poll managers. . . is minimal
compared to the potential loss of a right to vote”); Fla. Democratic Party, 2016 WL 6090943, at
*8 (“Any potential hardship [to the state] imposed by providing the same opportunity . . . for []
voters pales in comparison to that imposed by unconstitutionally depriving those voters of their
right to vote and to have their votes counted.”); United States v. Georgia, 892 F. Supp. 2d 1367,
1377 (N.D. Ga. 2012) (“The potential hardships that Georgia might experience are minor when
balanced against the right to vote, a right that is essential to an effective democracy.”); United
States v. Berks Cty., Pa. , 250 F. Supp. 2d 525, 541 (E.D. Pa. 2003) (“Although these reforms may
result in some administrative expenses for Defendants, such expenses are likely to be minimal and
are far outweighed by the fundamental right at issue.”). Finally, Bishop v. Lomenzo, 350 F.Supp.
576 (E.D.N.Y. 1972) observed that, “[w]ithout minimizing the administrative burden upon the
Boards of Elections, we must not lose sight of the fact that we are here dealing with a most
fundamental aspect of our free and democratic society - the citizen's right to vote . . . [w]hen that
is weighed in the balance against clerical inconvenience, the latter must give way. The state may
not deny a voter the right to register (and hence to vote) because of clerical deficiencies.” Id. at
587.

                                                 60
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 71 of 74




       The DNC/DPW’s requests for a relaxation of the witness certification and other proof

requirements also strike the right balance of equities. No one disputes that the State has a strong

interest in preventing potential voter fraud. But as Luft has just reminded us, “[e]very citizen’s

interest in individual treatment also is strong.” 2020 WL 3496860, at *11 (emphasis added). The

DNC/DPW’s proposed relief protects that interest while eliminating barriers that are not necessary

to the detection or prevention of fraud. If anything, the DNC/DPW’s proposed form for requesting

an exemption provides even greater protection against possible “fraudsters” than the witness

requirement and the other challenged proof requirements. By requiring voters to declare under

penalty of perjury their specific grounds of entitlement to an exemption, provide email and

telephone contact information so that local election officials can follow up promptly with any

questions or concerns, and cooperate with any such investigations, the requested relief protects

against possible “fraudsters” while reducing the “high hurdles,” Frank II, 819 F.3d at 386, that the

witness-certification and proof requirements create for a significant percentage of voters

hypothesized by Judge Easterbrook in Frank II.

       On top of all this, there was no evidence of attempted voter fraud in the April 7 and May

12 elections, and there is no evidence that such fraud actually will be attempted in the November

general election. DNCFOF ¶ 180. The State is entitled to police against this “miniscule” risk, but

not by creating unnecessary restrictions that result in the disenfranchisement of “eligible voters.”

U.S. Student Ass’n Found. v. Land, 546 F.3d 373, 388-89 (6th Cir. 2008) (“Because the risk of

actual voter fraud is miniscule when compared with the concrete risk that [the State’s] policies will

disenfranchise eligible voters, we must conclude that the public interest weighs in favor of

[injunctive relief, which] eliminates a risk of individual disenfranchisement without creating any




                                                 61
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 72 of 74




new substantial threats to the integrity of the election process.”). Federal and state courts

throughout the country have repeatedly found there is no evidence of attempted voter fraud.21


                                     PRAYER FOR RELIEF

       The DNC and DPW therefore respectfully request that this Court enter judgment:

       A.      Declaring that in the context of the current coronavirus crisis, Wisconsin’s current

by-mail and electronic registration deadlines, Wisc. Stat. § 6.28(1); requirements that copies of

proof of residence and voter photo ID accompany electronic and by-mail voter registration and

absentee applications, id. § 6.34, 6.86, respectively; requirement that polling places receive

absentee ballots by 8:00 p.m. on election day to be counted, id. § 6.87; and requirement that an

absentee voter obtain the signature of a witness attesting to the accuracy of personal information

on an absentee ballot, id. § 6.87(2); together with defendants’ failure to ensure that all citizens

have safe and sufficient opportunities to register and vote in person, are unconstitutional in

violation of the First and Fourteenth Amendments;

       B.      Enjoining defendants and their respective agents, officers, employees, and



       21
           See, e.g., People First, 2020 WL 3478093, at *7 (concluding that state’s “interest for
maintaining the photo ID and witness requirements do not outweigh” burdens on voters where
evidence “suggests that Alabama has not found itself in recent years to have a significant absentee-
ballot fraud problem”); Democratic Nat’l Comm. v. Hobbs, 948 F.3d 989, 1036 (9th Cir. 2020) (en
banc) (rejecting fraud-based justification for ballot collection ban where “[t]here has never been a
case of voter fraud associated with ballot collection charged in Arizona” (quoting Democratic
Nat’l Comm. v. Reagan, 329 F. Supp. 3d 824, 852 (D. Ariz. 2018))); Paher v. Cegavske, No. 3:20-
cv-00243-MMD-WGC, 2020 WL 2089813, at *1, 6 & n.10 (D. Nev. Apr. 30, 2020) (finding that
plaintiffs’ “claim of voter fraud is without any factual basis”; the State’s “interests in protecting
the health and safety of Nevada’s voters and to safeguard the voting franchise in light of the
COVID-19 pandemic far outweigh any burden . . . premised on a speculative claim of voter
fraud.”); One Wis. Inst., Inc., 198 F. Supp. 3d at 912 (noting that “there is utterly no evidence that
[there] is a systematic problem” of multiple voting); Am. Civil Rights Union v. Martinez-Rivera,
166 F. Supp. 3d 779, 789, 802–03 (W.D. Tex. 2015) (rejecting standing argument where alleged
injuries, “undermined voter confidence and the risk of vote dilution, are speculative”).


                                                 62
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 73 of 74




successors, and all persons acting in concert with each or any of them, from rejecting electronic

and by-mail registrations that are received by the relevant clerk’s office by Friday, October 30,

2020.

         C.    Enjoining defendants and their respective agents, officers, employees, and

successors, and all persons acting in concert with each or any of them, from rejecting ballots that

are postmarked on or before November 3, 2020 and arrive at the municipal clerk’s office within a

minimum of ten days thereafter, subject to the definition of “postmarked” discussed on page 7 n.7

above;

         D.    Enjoining in part the enforcement of the witness requirement in Wis. Stat. § 6.87(2)

as applied to those absentee voters who certify under penalty of perjury that they are unable after

making reasonable efforts to obtain a witness signature and provide contact information for local

election officials to follow up immediately if they have any questions or concerns.

         E.    Enjoining in part the enforcement of the photo identification requirements in Wis.

Stat. §§ 6.86 and 6.87 and the proof of residency requirement in Wis. Stat. § 6.34 for voter

registrations until the COVID-19 crisis is over, as applied to those absentee voters who certify

under penalty of perjury that they are unable after making reasonable efforts to obtain a witness

signature and provide contact information for local election officials to follow up immediately if

they have any questions or concerns.

         F.    Ordering defendants to exercise their statutory authority and responsibility, see

Wis. Stat. § 5.05(1), to develop and implement regulations, plans, and/or other administrative steps

to (a) coordinate available state, local, and private resources to ensure that all voters throughout

the State are able to cast early in-person absentee ballots and to vote in-person on election day in

a safe and secure manner; and (b) conduct a continuing public information campaign informing




                                                63
     Case: 3:20-cv-00340-wmc Document #: 220 Filed: 07/08/20 Page 74 of 74




voters of their in-person and absentee voting options and requirements, with defendants required

to report back to the Court on its progress in implementing this relief and plans for future steps

through the election;

       G.      Awarding plaintiff their costs, expenses, and reasonable attorneys’ fees pursuant

to, inter alia, 42 U.S.C. § 1988 and other applicable laws; and

       H.      Granting such other relief as the Court deems just and proper.

                                               Respectfully submitted,

                                                /s/ John Devaney
                                                Marc E. Elias
                                                John Devaney
                                                Bruce V. Spiva
                                                Amanda R. Callais
                                                Zachary J. Newkirk
                                                PERKINS COIE LLP
                                                700 Thirteenth St., N.W., Suite 800
                                                Washington, D.C. 20005-3960
                                                Telephone: (202) 654-6200
                                                Facsimile: (202) 654-9959
                                                melias@perkinscoie.com
                                                jdevaney@perkinscoie.com
                                                bspiva@perkinscoie.com
                                                acallais@perkinscoie.com
                                                znewkirk@perkinscoie.com

                                                Charles G. Curtis, Jr.
                                                Michelle M. Umberger
                                                Sopen B. Shah
                                                Brandon M. Lewis
                                                PERKINS COIE LLP
                                                33 East Main Street, Suite 201
                                                Madison, Wisconsin 53703-3095
                                                Telephone: (608) 663-7460
                                                Facsimile: (608) 663-7499
                                                CCurtis@perkinscoie.com
                                                MUmberger@perkinscoie.com
                                                SShah@perkinscoie.com
                                                BLewis@perkinscoie.com

                                                Counsel for Plaintiffs in Case No. 20-cv-249-wmc


                                                64
